Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 1 of 566 PageID #:
                                  2409
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 2 of 566 PageID #:
                                  2410
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 3 of 566 PageID #:
                                  2411
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 4 of 566 PageID #:
                                  2412
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 5 of 566 PageID #:
                                  2413
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 6 of 566 PageID #:
                                  2414
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 7 of 566 PageID #:
                                  2415
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 8 of 566 PageID #:
                                  2416
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 9 of 566 PageID #:
                                  2417
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 10 of 566 PageID #:
                                   2418
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 11 of 566 PageID #:
                                   2419
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 12 of 566 PageID #:
                                   2420
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 13 of 566 PageID #:
                                   2421
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 14 of 566 PageID #:
                                   2422
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 15 of 566 PageID #:
                                   2423
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 16 of 566 PageID #:
                                   2424
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 17 of 566 PageID #:
                                   2425
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 18 of 566 PageID #:
                                   2426
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 19 of 566 PageID #:
                                   2427
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 20 of 566 PageID #:
                                   2428
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 21 of 566 PageID #:
                                   2429
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 22 of 566 PageID #:
                                   2430
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 23 of 566 PageID #:
                                   2431
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 24 of 566 PageID #:
                                   2432
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 25 of 566 PageID #:
                                   2433
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 26 of 566 PageID #:
                                   2434
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 27 of 566 PageID #:
                                   2435
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 28 of 566 PageID #:
                                   2436
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 29 of 566 PageID #:
                                   2437
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 30 of 566 PageID #:
                                   2438
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 31 of 566 PageID #:
                                   2439
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 32 of 566 PageID #:
                                   2440
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 33 of 566 PageID #:
                                   2441
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 34 of 566 PageID #:
                                   2442
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 35 of 566 PageID #:
                                   2443
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 36 of 566 PageID #:
                                   2444
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 37 of 566 PageID #:
                                   2445
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 38 of 566 PageID #:
                                   2446
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 39 of 566 PageID #:
                                   2447
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 40 of 566 PageID #:
                                   2448
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 41 of 566 PageID #:
                                   2449
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 42 of 566 PageID #:
                                   2450
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 43 of 566 PageID #:
                                   2451
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 44 of 566 PageID #:
                                   2452
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 45 of 566 PageID #:
                                   2453
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 46 of 566 PageID #:
                                   2454
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 47 of 566 PageID #:
                                   2455
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 48 of 566 PageID #:
                                   2456
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 49 of 566 PageID #:
                                   2457
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 50 of 566 PageID #:
                                   2458
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 51 of 566 PageID #:
                                   2459
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 52 of 566 PageID #:
                                   2460
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 53 of 566 PageID #:
                                   2461
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 54 of 566 PageID #:
                                   2462
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 55 of 566 PageID #:
                                   2463
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 56 of 566 PageID #:
                                   2464
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 57 of 566 PageID #:
                                   2465
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 58 of 566 PageID #:
                                   2466
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 59 of 566 PageID #:
                                   2467
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 60 of 566 PageID #:
                                   2468
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 61 of 566 PageID #:
                                   2469
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 62 of 566 PageID #:
                                   2470
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 63 of 566 PageID #:
                                   2471
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 64 of 566 PageID #:
                                   2472
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 65 of 566 PageID #:
                                   2473
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 66 of 566 PageID #:
                                   2474
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 67 of 566 PageID #:
                                   2475
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 68 of 566 PageID #:
                                   2476
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 69 of 566 PageID #:
                                   2477
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 70 of 566 PageID #:
                                   2478
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 71 of 566 PageID #:
                                   2479
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 72 of 566 PageID #:
                                   2480
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 73 of 566 PageID #:
                                   2481
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 74 of 566 PageID #:
                                   2482
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 75 of 566 PageID #:
                                   2483
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 76 of 566 PageID #:
                                   2484
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 77 of 566 PageID #:
                                   2485
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 78 of 566 PageID #:
                                   2486
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 79 of 566 PageID #:
                                   2487
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 80 of 566 PageID #:
                                   2488
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 81 of 566 PageID #:
                                   2489
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 82 of 566 PageID #:
                                   2490
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 83 of 566 PageID #:
                                   2491
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 84 of 566 PageID #:
                                   2492
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 85 of 566 PageID #:
                                   2493
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 86 of 566 PageID #:
                                   2494
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 87 of 566 PageID #:
                                   2495
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 88 of 566 PageID #:
                                   2496
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 89 of 566 PageID #:
                                   2497
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 90 of 566 PageID #:
                                   2498
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 91 of 566 PageID #:
                                   2499
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 92 of 566 PageID #:
                                   2500
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 93 of 566 PageID #:
                                   2501
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 94 of 566 PageID #:
                                   2502
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 95 of 566 PageID #:
                                   2503
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 96 of 566 PageID #:
                                   2504
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 97 of 566 PageID #:
                                   2505
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 98 of 566 PageID #:
                                   2506
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 99 of 566 PageID #:
                                   2507
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 100 of 566 PageID #:
                                    2508
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 101 of 566 PageID #:
                                    2509
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 102 of 566 PageID #:
                                    2510
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 103 of 566 PageID #:
                                    2511
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 104 of 566 PageID #:
                                    2512
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 105 of 566 PageID #:
                                    2513
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 106 of 566 PageID #:
                                    2514
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 107 of 566 PageID #:
                                    2515
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 108 of 566 PageID #:
                                    2516
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 109 of 566 PageID #:
                                    2517
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 110 of 566 PageID #:
                                    2518
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 111 of 566 PageID #:
                                    2519
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 112 of 566 PageID #:
                                    2520
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 113 of 566 PageID #:
                                    2521
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 114 of 566 PageID #:
                                    2522
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 115 of 566 PageID #:
                                    2523
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 116 of 566 PageID #:
                                    2524
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 117 of 566 PageID #:
                                    2525
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 118 of 566 PageID #:
                                    2526
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 119 of 566 PageID #:
                                    2527
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 120 of 566 PageID #:
                                    2528
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 121 of 566 PageID #:
                                    2529
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 122 of 566 PageID #:
                                    2530
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 123 of 566 PageID #:
                                    2531
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 124 of 566 PageID #:
                                    2532
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 125 of 566 PageID #:
                                    2533
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 126 of 566 PageID #:
                                    2534
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 127 of 566 PageID #:
                                    2535
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 128 of 566 PageID #:
                                    2536
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 129 of 566 PageID #:
                                    2537
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 130 of 566 PageID #:
                                    2538
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 131 of 566 PageID #:
                                    2539
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 132 of 566 PageID #:
                                    2540
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 133 of 566 PageID #:
                                    2541
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 134 of 566 PageID #:
                                    2542
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 135 of 566 PageID #:
                                    2543
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 136 of 566 PageID #:
                                    2544
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 137 of 566 PageID #:
                                    2545
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 138 of 566 PageID #:
                                    2546
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 139 of 566 PageID #:
                                    2547
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 140 of 566 PageID #:
                                    2548
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 141 of 566 PageID #:
                                    2549
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 142 of 566 PageID #:
                                    2550
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 143 of 566 PageID #:
                                    2551
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 144 of 566 PageID #:
                                    2552
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 145 of 566 PageID #:
                                    2553
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 146 of 566 PageID #:
                                    2554
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 147 of 566 PageID #:
                                    2555
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 148 of 566 PageID #:
                                    2556
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 149 of 566 PageID #:
                                    2557
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 150 of 566 PageID #:
                                    2558
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 151 of 566 PageID #:
                                    2559
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 152 of 566 PageID #:
                                    2560
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 153 of 566 PageID #:
                                    2561
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 154 of 566 PageID #:
                                    2562
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 155 of 566 PageID #:
                                    2563
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 156 of 566 PageID #:
                                    2564
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 157 of 566 PageID #:
                                    2565
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 158 of 566 PageID #:
                                    2566
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 159 of 566 PageID #:
                                    2567
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 160 of 566 PageID #:
                                    2568
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 161 of 566 PageID #:
                                    2569
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 162 of 566 PageID #:
                                    2570
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 163 of 566 PageID #:
                                    2571
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 164 of 566 PageID #:
                                    2572
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 165 of 566 PageID #:
                                    2573
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 166 of 566 PageID #:
                                    2574
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 167 of 566 PageID #:
                                    2575
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 168 of 566 PageID #:
                                    2576
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 169 of 566 PageID #:
                                    2577
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 170 of 566 PageID #:
                                    2578
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 171 of 566 PageID #:
                                    2579
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 172 of 566 PageID #:
                                    2580
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 173 of 566 PageID #:
                                    2581
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 174 of 566 PageID #:
                                    2582
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 175 of 566 PageID #:
                                    2583
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 176 of 566 PageID #:
                                    2584
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 177 of 566 PageID #:
                                    2585
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 178 of 566 PageID #:
                                    2586
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 179 of 566 PageID #:
                                    2587
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 180 of 566 PageID #:
                                    2588
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 181 of 566 PageID #:
                                    2589
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 182 of 566 PageID #:
                                    2590
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 183 of 566 PageID #:
                                    2591
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 184 of 566 PageID #:
                                    2592
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 185 of 566 PageID #:
                                    2593
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 186 of 566 PageID #:
                                    2594
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 187 of 566 PageID #:
                                    2595
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 188 of 566 PageID #:
                                    2596
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 189 of 566 PageID #:
                                    2597
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 190 of 566 PageID #:
                                    2598
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 191 of 566 PageID #:
                                    2599
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 192 of 566 PageID #:
                                    2600
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 193 of 566 PageID #:
                                    2601
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 194 of 566 PageID #:
                                    2602
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 195 of 566 PageID #:
                                    2603
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 196 of 566 PageID #:
                                    2604
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 197 of 566 PageID #:
                                    2605
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 198 of 566 PageID #:
                                    2606
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 199 of 566 PageID #:
                                    2607
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 200 of 566 PageID #:
                                    2608
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 201 of 566 PageID #:
                                    2609
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 202 of 566 PageID #:
                                    2610
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 203 of 566 PageID #:
                                    2611
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 204 of 566 PageID #:
                                    2612
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 205 of 566 PageID #:
                                    2613
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 206 of 566 PageID #:
                                    2614
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 207 of 566 PageID #:
                                    2615
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 208 of 566 PageID #:
                                    2616
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 209 of 566 PageID #:
                                    2617
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 210 of 566 PageID #:
                                    2618
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 211 of 566 PageID #:
                                    2619
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 212 of 566 PageID #:
                                    2620
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 213 of 566 PageID #:
                                    2621
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 214 of 566 PageID #:
                                    2622
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 215 of 566 PageID #:
                                    2623
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 216 of 566 PageID #:
                                    2624
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 217 of 566 PageID #:
                                    2625
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 218 of 566 PageID #:
                                    2626
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 219 of 566 PageID #:
                                    2627
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 220 of 566 PageID #:
                                    2628
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 221 of 566 PageID #:
                                    2629
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 222 of 566 PageID #:
                                    2630
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 223 of 566 PageID #:
                                    2631
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 224 of 566 PageID #:
                                    2632
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 225 of 566 PageID #:
                                    2633
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 226 of 566 PageID #:
                                    2634
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 227 of 566 PageID #:
                                    2635
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 228 of 566 PageID #:
                                    2636
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 229 of 566 PageID #:
                                    2637
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 230 of 566 PageID #:
                                    2638
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 231 of 566 PageID #:
                                    2639
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 232 of 566 PageID #:
                                    2640
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 233 of 566 PageID #:
                                    2641
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 234 of 566 PageID #:
                                    2642
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 235 of 566 PageID #:
                                    2643
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 236 of 566 PageID #:
                                    2644
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 237 of 566 PageID #:
                                    2645
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 238 of 566 PageID #:
                                    2646
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 239 of 566 PageID #:
                                    2647
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 240 of 566 PageID #:
                                    2648
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 241 of 566 PageID #:
                                    2649
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 242 of 566 PageID #:
                                    2650
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 243 of 566 PageID #:
                                    2651
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 244 of 566 PageID #:
                                    2652
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 245 of 566 PageID #:
                                    2653
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 246 of 566 PageID #:
                                    2654
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 247 of 566 PageID #:
                                    2655
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 248 of 566 PageID #:
                                    2656
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 249 of 566 PageID #:
                                    2657
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 250 of 566 PageID #:
                                    2658
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 251 of 566 PageID #:
                                    2659
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 252 of 566 PageID #:
                                    2660
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 253 of 566 PageID #:
                                    2661
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 254 of 566 PageID #:
                                    2662
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 255 of 566 PageID #:
                                    2663
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 256 of 566 PageID #:
                                    2664
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 257 of 566 PageID #:
                                    2665
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 258 of 566 PageID #:
                                    2666
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 259 of 566 PageID #:
                                    2667
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 260 of 566 PageID #:
                                    2668
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 261 of 566 PageID #:
                                    2669
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 262 of 566 PageID #:
                                    2670
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 263 of 566 PageID #:
                                    2671
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 264 of 566 PageID #:
                                    2672
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 265 of 566 PageID #:
                                    2673
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 266 of 566 PageID #:
                                    2674
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 267 of 566 PageID #:
                                    2675
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 268 of 566 PageID #:
                                    2676
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 269 of 566 PageID #:
                                    2677
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 270 of 566 PageID #:
                                    2678
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 271 of 566 PageID #:
                                    2679
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 272 of 566 PageID #:
                                    2680
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 273 of 566 PageID #:
                                    2681
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 274 of 566 PageID #:
                                    2682
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 275 of 566 PageID #:
                                    2683
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 276 of 566 PageID #:
                                    2684
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 277 of 566 PageID #:
                                    2685
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 278 of 566 PageID #:
                                    2686
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 279 of 566 PageID #:
                                    2687
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 280 of 566 PageID #:
                                    2688
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 281 of 566 PageID #:
                                    2689
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 282 of 566 PageID #:
                                    2690
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 283 of 566 PageID #:
                                    2691
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 284 of 566 PageID #:
                                    2692
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 285 of 566 PageID #:
                                    2693
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 286 of 566 PageID #:
                                    2694
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 287 of 566 PageID #:
                                    2695
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 288 of 566 PageID #:
                                    2696
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 289 of 566 PageID #:
                                    2697
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 290 of 566 PageID #:
                                    2698
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 291 of 566 PageID #:
                                    2699
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 292 of 566 PageID #:
                                    2700
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 293 of 566 PageID #:
                                    2701
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 294 of 566 PageID #:
                                    2702
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 295 of 566 PageID #:
                                    2703
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 296 of 566 PageID #:
                                    2704
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 297 of 566 PageID #:
                                    2705
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 298 of 566 PageID #:
                                    2706
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 299 of 566 PageID #:
                                    2707
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 300 of 566 PageID #:
                                    2708
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 301 of 566 PageID #:
                                    2709
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 302 of 566 PageID #:
                                    2710
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 303 of 566 PageID #:
                                    2711
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 304 of 566 PageID #:
                                    2712
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 305 of 566 PageID #:
                                    2713
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 306 of 566 PageID #:
                                    2714
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 307 of 566 PageID #:
                                    2715
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 308 of 566 PageID #:
                                    2716
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 309 of 566 PageID #:
                                    2717
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 310 of 566 PageID #:
                                    2718
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 311 of 566 PageID #:
                                    2719
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 312 of 566 PageID #:
                                    2720
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 313 of 566 PageID #:
                                    2721
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 314 of 566 PageID #:
                                    2722
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 315 of 566 PageID #:
                                    2723
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 316 of 566 PageID #:
                                    2724
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 317 of 566 PageID #:
                                    2725
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 318 of 566 PageID #:
                                    2726
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 319 of 566 PageID #:
                                    2727
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 320 of 566 PageID #:
                                    2728
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 321 of 566 PageID #:
                                    2729
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 322 of 566 PageID #:
                                    2730
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 323 of 566 PageID #:
                                    2731
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 324 of 566 PageID #:
                                    2732
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 325 of 566 PageID #:
                                    2733
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 326 of 566 PageID #:
                                    2734
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 327 of 566 PageID #:
                                    2735
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 328 of 566 PageID #:
                                    2736
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 329 of 566 PageID #:
                                    2737
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 330 of 566 PageID #:
                                    2738
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 331 of 566 PageID #:
                                    2739
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 332 of 566 PageID #:
                                    2740
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 333 of 566 PageID #:
                                    2741
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 334 of 566 PageID #:
                                    2742
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 335 of 566 PageID #:
                                    2743
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 336 of 566 PageID #:
                                    2744
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 337 of 566 PageID #:
                                    2745
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 338 of 566 PageID #:
                                    2746
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 339 of 566 PageID #:
                                    2747
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 340 of 566 PageID #:
                                    2748
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 341 of 566 PageID #:
                                    2749
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 342 of 566 PageID #:
                                    2750
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 343 of 566 PageID #:
                                    2751
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 344 of 566 PageID #:
                                    2752
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 345 of 566 PageID #:
                                    2753
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 346 of 566 PageID #:
                                    2754
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 347 of 566 PageID #:
                                    2755
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 348 of 566 PageID #:
                                    2756
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 349 of 566 PageID #:
                                    2757
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 350 of 566 PageID #:
                                    2758
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 351 of 566 PageID #:
                                    2759
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 352 of 566 PageID #:
                                    2760
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 353 of 566 PageID #:
                                    2761
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 354 of 566 PageID #:
                                    2762
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 355 of 566 PageID #:
                                    2763
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 356 of 566 PageID #:
                                    2764
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 357 of 566 PageID #:
                                    2765
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 358 of 566 PageID #:
                                    2766
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 359 of 566 PageID #:
                                    2767
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 360 of 566 PageID #:
                                    2768
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 361 of 566 PageID #:
                                    2769
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 362 of 566 PageID #:
                                    2770
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 363 of 566 PageID #:
                                    2771
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 364 of 566 PageID #:
                                    2772
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 365 of 566 PageID #:
                                    2773
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 366 of 566 PageID #:
                                    2774
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 367 of 566 PageID #:
                                    2775
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 368 of 566 PageID #:
                                    2776
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 369 of 566 PageID #:
                                    2777
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 370 of 566 PageID #:
                                    2778
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 371 of 566 PageID #:
                                    2779
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 372 of 566 PageID #:
                                    2780
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 373 of 566 PageID #:
                                    2781
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 374 of 566 PageID #:
                                    2782
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 375 of 566 PageID #:
                                    2783
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 376 of 566 PageID #:
                                    2784
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 377 of 566 PageID #:
                                    2785
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 378 of 566 PageID #:
                                    2786
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 379 of 566 PageID #:
                                    2787
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 380 of 566 PageID #:
                                    2788
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 381 of 566 PageID #:
                                    2789
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 382 of 566 PageID #:
                                    2790
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 383 of 566 PageID #:
                                    2791
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 384 of 566 PageID #:
                                    2792
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 385 of 566 PageID #:
                                    2793
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 386 of 566 PageID #:
                                    2794
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 387 of 566 PageID #:
                                    2795
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 388 of 566 PageID #:
                                    2796
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 389 of 566 PageID #:
                                    2797
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 390 of 566 PageID #:
                                    2798
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 391 of 566 PageID #:
                                    2799
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 392 of 566 PageID #:
                                    2800
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 393 of 566 PageID #:
                                    2801
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 394 of 566 PageID #:
                                    2802
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 395 of 566 PageID #:
                                    2803
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 396 of 566 PageID #:
                                    2804
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 397 of 566 PageID #:
                                    2805
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 398 of 566 PageID #:
                                    2806
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 399 of 566 PageID #:
                                    2807
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 400 of 566 PageID #:
                                    2808
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 401 of 566 PageID #:
                                    2809
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 402 of 566 PageID #:
                                    2810
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 403 of 566 PageID #:
                                    2811
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 404 of 566 PageID #:
                                    2812
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 405 of 566 PageID #:
                                    2813
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 406 of 566 PageID #:
                                    2814
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 407 of 566 PageID #:
                                    2815
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 408 of 566 PageID #:
                                    2816
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 409 of 566 PageID #:
                                    2817
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 410 of 566 PageID #:
                                    2818
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 411 of 566 PageID #:
                                    2819
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 412 of 566 PageID #:
                                    2820
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 413 of 566 PageID #:
                                    2821
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 414 of 566 PageID #:
                                    2822
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 415 of 566 PageID #:
                                    2823
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 416 of 566 PageID #:
                                    2824
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 417 of 566 PageID #:
                                    2825
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 418 of 566 PageID #:
                                    2826
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 419 of 566 PageID #:
                                    2827
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 420 of 566 PageID #:
                                    2828
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 421 of 566 PageID #:
                                    2829
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 422 of 566 PageID #:
                                    2830
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 423 of 566 PageID #:
                                    2831
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 424 of 566 PageID #:
                                    2832
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 425 of 566 PageID #:
                                    2833
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 426 of 566 PageID #:
                                    2834
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 427 of 566 PageID #:
                                    2835
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 428 of 566 PageID #:
                                    2836
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 429 of 566 PageID #:
                                    2837
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 430 of 566 PageID #:
                                    2838
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 431 of 566 PageID #:
                                    2839
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 432 of 566 PageID #:
                                    2840
                             Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 433 of 566 PageID #:
                                                                 2841




HHS Confidential Information – For Official Use Only – Not to be Disseminated

INFORMATION NOT RELEASABLE TO THE PUBLIC UNLESS AUTHORIZED BY LAW:
This information has not been publicly disclosed and may be a privileged, confidential,
deliberative, and/or pre-decisional communication. It is for internal government use only and
must not be disseminated, distributed, or copied to persons not authorized to receive the
information. Unauthorized disclosure may result in prosecution to the full extent of the law.




            Weekly Update: TDWG COVID-19
                 Testing at the Border
                                               Testing and Diagnostics Working Group (TDWG)

                                                                           MARCH 28, 2022




                                                                                                                 AZT42AR0000934
       Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 434 of 566 PageID #:
                                           2842




                                DRAFT – PRE-DECISIONAL & DELIBERATIVE                           As of 2/7/22




                                             ¾Overview
                                             ¾Testing Processes at CBP
Background                                   ¾Testing Processes at EIS
                                             ¾ICATT Testing Sites
                                             ¾Objectives




                                                                                                      1
                               FOR OFFICIAL USE ONLY – DO NOT DISTRIBUTE




                                                                                           AZT42AR0000935
            Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 435 of 566 PageID #:
                                                2843




                                          DRAFT – PRE-DECISIONAL & DELIBERATIVE



Overview | Flow of Unaccompanied Children (UC)


    US-Mexico
    Border




                Department of                     Office of Refugee Resettlement
                Homeland Security                 (ORR) Emergency Intake                ORR Foster Care or
                (DHS) Custom and                  Site (EIS)                            Permanent Shelter
                Border Patrol (CBP)                                                     Network (PSN)
                Sector Station                     • Line of sight supervision causes
                                                     housing in large groups            • ~250 facilities, include
                • Not suitable for children                                               medical services
                                                   • Serial COVID testing for
                • <72-hour maximum holding           children and staff                 • Long term care for
                  requirement                                                             children, until they age
                                                   • Case management and release          out
                • COVID test at exit                 to family or transfer



                                              Current ESD TF involvement
                                                                                                                     2
                                         FOR OFFICIAL USE ONLY – DO NOT DISTRIBUTE




                                                                                                     AZT42AR0000936
                             Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 436 of 566 PageID #:
                                                                 2844



                                                                                   Draft -Pre-Decisional & Deliberative                                                                  As of ϮͬϳͬϮϮ

Testing Process at CBP Sites
General Process (Yuma)

                                                                                                                                           Hot
                                                                                                                                            ot (Positive
                                                                                                                                               (Positive)
                                                                                                                                           Bus to assigned
                                                                                                                          Positive
                                                                                                                                               EIS Site


    Children arrive at CBP                                   Children readied                          Binax test
      remain here while                                     for transport to EIS                                          Negative
                                                                                                       conducted
    placement is arranged
                                                                                                                                           Cold
                                                                                                                                            old (Negativ
                                                                                                                                                (Negative)
   CBP does not have the ability to                                                                                                        Bus to assigned
         segregate children                                                                                                                    EIS Site


 Process at RGV/Donna, El Paso, Tucson and Uvalde

                                                                                                                                Positive                         Hott (Positiv
                                                                                                                                                                      (Positive)
                                                                                                                                                             Bus to assigned EIS Site
                                      Negative
                                      Ne                                                       Binax test
                                                       UC
                                                        C with negative test
                                                                        te                    conducted at                      Negative
                                                       enter Donna CBP and                  time of transport                                                   Cold
                                                                                                                                                                   d (Negative)
                                                                                                                                                                     (Negat
                                                         await placement                          to EIS                                                     Bus to assigned EIS Site

    Testing upon arrival at
       Donna CBP site                                                                 Positive чϭϮ years old *                                              Transferred
                                                                                                                                                                    rred to Carrizo
                                                                                                                                                              Springs for isolation
       Implemented to reduce
    exposure while in government
            care/custody
                                                                                      WŽƐŝƚŝǀĞш ϭϯ years old *                                              Transferred
                                                                                                                                                                      red to Ft. Bliss
  *Negative and positive siblings travel to isolation together                                                                                                    for isolation

                                                                                         For Official Use Only




                                                                                                                                                                              AZT42AR0000937
                             Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 437 of 566 PageID #:
                                                                 2845



                                                                          Draft -Pre-Decisional & Deliberative                                                                         As of ϮͬϭϰͬϮϮ
Testing Process at EIS Sites
   General UC Testing Process
     Arrival from CBP                                    Positive                                           Recovered                                                                Discharge
                                                                                                                                                                                       sc a ge
                                                                                  Isolate
                                                                                     l




                                                                                    Positive
       Intake
                                     Testing
                                                        Negative                                      Negative        General Population                Negative or Recovered
                                                                                                                        UC tested every 3 days.
                                                                                                                        No testing for 90 days if
                                                                               Quarantine                                     recovered.




    General Staff Testing Process
                                                                                                      Positive & Symptomatic


                                                                          Positive & Asymptomatic                                                                Staff Informed
          Initial Staff or
           Staff due for                                                  Negative & Symptomatic                                                    Positive
           YϯƚĞƐƚŝŶŐ
                                                                    Negative & Asymptomatic                                                                         Isolate
                                                                                                                   Accula Test
                                                Binax Test
                             Symptomatic


                                                                                                                                                                    Recovered
          Staff not due                        Asymptomatic                                Continue            Negative                                                              Return to
         ĨŽƌYϯƚĞƐƚŝŶŐ                                                                   Working                                                                                     Work


                                                                                 For Official Use Only




                                                                                                                                                                                  AZT42AR0000938
                                    Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 438 of 566 PageID #:
                                                                        2846




                                                                            DRAFT – PRE-DECISIONAL & DELIBERATIVE                                                       As of 03/28/22




Current testing at 7* sites                                                         Total Tests since April 2021
5 CBP sites
  Site_Name         Total_Tests
   Donna UC               83,826
  El Paso UC              13,224
  Tucson UC                 8,703
  Uvalde UC                 3,378                                                                                           10/4: Testing
                                                                                                                                            10/26: Testing begins
                                                                                                                                                at Albion EIS
   Yuma UC                    355                                                                                          begins at Yuma
     Total               109,486

2* EIS sites                                   4/22: First two                       7/7: Testing
                                                                                                     9/5: Testing begins
                                                                                                        at Pecos EIS
     Group          Total_Tests                  CBP sites                          begins at Fort
                                                                                      Bliss EIS
                                                 (Donna &
    Pecos UC              69,151                  Tucson)
   Pecos Staff            87,359
                                                                 6/1: El Paso and
                                                                  Uvalde added
  Fort Bliss UC           71,844
 Fort Bliss Staff        146,809

   Albion UC*              2,848
  Albion Staff*            6,755
      Total              384,766

***Albion deactivated 1/5/22


Sites without ICATT Testing

TDWG has been providing CBP with
BinaxNOW tests since April 2021.                                                                                                                                               5
                                                                         FOR OFFICIAL USE ONLY – DO NOT DISTRIBUTE




                                                                                                                                                                    AZT42AR0000939
                             Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 439 of 566 PageID #:
                                                                 2847




                                                                    DRAFT – PRE-DECISIONAL & DELIBERATIVE                                            As of 03/28/22

TDWG currently provides contractor-supplied testing and
       Point-of-Care (POC) tests to CBP and EIS
                                                                      *Note:     Deactivated on 01/05/22

       WA                                                                                                                   Objectives:
                                                                                                                 ME
                                    MT             ND
       OR          ID
                                                                                                                      NH
                                                                                                                      VT
                                                                                                                           • Provide and support contractor-
                                                          MN
                                                   SD
                                                                     WI                                     NY
                                                                                                                      MA
                                                                                                                      RI
                                                                                                                             supplied testing & wraparound
                                                                             Albion (EIS)
                                   WY                                                                                 CT     services at CBP stations and EIS
                                                                            MI                                    NJ
                                                          IA                                          PA
                                                                                                                  DE
            NV                                     NE
                                                                       IL        IN        OH                     MD       • Monitor ongoing USG testing to
                        UT
  CA                               CO
                                                                                                                  DC
                                                                                                                  WV
                                                                                                                             anticipate and supply needed POC
                                                   KS          MO                                     VA
                                                                                      KY
                                                                                                                             tests to CBP and EIS
                                                                                                       NC
                                                                                 TN
            San Diego
                      AZ           NM
                                                   OK          AR                                                          • Prevent testing shortages and
                  Yuma                                                                           SC
El Centro                                                                                                                    support mitigation/de-escalation of
                               El Paso
                 Tucson
                                         Pecos (EIS)                   MS        AL         GA                               outbreaks.
                                                   TX          LA
                          Ft. Bliss (EIS)
                                  Big Bend
                                               Del Rio
                                                 Uvalde                                          FL                        • Maintain and improve testing at CBP
                                Carrizo Springs
                                                                                                                             and EIS sites
                                          Laredo
                                 RGV / Donna


   ICATT border testing site (7 sites*)
   CBP / DHS border station (ICATT not currently testing)
   Influx Care Facility (ICATT not currently testing)                                                                                                       6
                                                               FOR OFFICIAL USE ONLY – DO NOT DISTRIBUTE




                                                                                                                                                AZT42AR0000940
        Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 440 of 566 PageID #:
                                            2848




                                 DRAFT – PRE-DECISIONAL & DELIBERATIVE                          As of 01/31/22




                                               ¾Donna, TX
                                               ¾El Paso, TX
CBP Sites                                      ¾Tucson, AZ
                                               ¾Uvalde, TX
                                               ¾Yuma, AZ



                                                                                                       7
                                FOR OFFICIAL USE ONLY – DO NOT DISTRIBUTE




                                                                                            AZT42AR0000941
                     Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 441 of 566 PageID #:
                                                         2849




                                                       DRAFT – PRE-DECISIONAL & DELIBERATIVE                                             As of 03/28/22



                                             Weekly UC testing at CBP sites

Weekly Summary – CBP Sites
3/21/2022 – 3/27/2022

Test Results, by CBP Site
                 Unique Individuals                          Positive Test     Negative Test      Percent        Percent
    Site Name                         Total Testing Events                                                                      Total Test Results
                      Tested                                    Results          Results         Positivity   Positivity Diff

    Donna UC           ϭ͕ϲϬϱ                 ϭ͕ϳϵϵ               ϭϬϬ               ϭ͕ϲϵϵ          ϱ͘Ϯϰй          ϭ͘ϯϯй               ϭ͕ϵϬϳ
    El Paso UC          ϰϴϮ                  ϰϴϯ                  ϯ                 ϰϴϮ           Ϭ͘ϲϮй          -ϯ͘ϱϵй                ϰϴϱ
    Tucson UC           ϯϲϯ                  ϯϲϯ                  ϭϯ                ϯϱϬ           ϯ͘ϱϴй          Ϭ͘ϯϲй                 ϯϲϯ
    Uvalde UC           ϭϯϲ                  ϭϲϲ                  ϲ                 ϭϲϭ           ϯ͘ϱϵй          Ϭ͘ϵϳй                 ϭϲϳ
    Yuma UC             ϭϬ                    ϭϬ                  Ϭ                 ϭϬ            Ϭ͘ϬϬй          Ϭ͘ϬϬй                 ϭϬ




                                                                                                                                                 8
                                                     FOR OFFICIAL USE ONLY – DO NOT DISTRIBUTE




                                                                                                                                  AZT42AR0000942
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 442 of 566 PageID #:
                                    2850




                         DRAFT – PRE-DECISIONAL & DELIBERATIVE                          As of 03/28/22


                  Weekly UC testing at CBP sites




                                                                                               9
                        FOR OFFICIAL USE ONLY – DO NOT DISTRIBUTE




                                                                                    AZT42AR0000943
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 443 of 566 PageID #:
                                    2851




                         DRAFT – PRE-DECISIONAL & DELIBERATIVE                                     As of 03/28/22

                Percent positivity at CBP sites over time




                                                                              Positivity across CBP
                                                                             sites steady since mid-
                                                                                   March 2022




                                                                                                         10
                        FOR OFFICIAL USE ONLY – DO NOT DISTRIBUTE




                                                                                           AZT42AR0000944
            Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 444 of 566 PageID #:
                                                2852




                                     DRAFT – PRE-DECISIONAL & DELIBERATIVE                                         As of 01/31/22




                                                  ¾Fort Bliss, TX
EIS Sites                                         ¾Pecos, TX
                                                  ¾Albion, MI                   (deactivated as of 1/5/2022)




                                                                                                                         11
                                    FOR OFFICIAL USE ONLY – DO NOT DISTRIBUTE




                                                                                                               AZT42AR0000945
                                    Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 445 of 566 PageID #:
                                                                        2853




                                                                                      DRAFT – PRE-DECISIONAL & DELIBERATIVE                                                                                       As of 03/28/22




Weekly testing at EIS Sites (03/21/2022 – 03/27/2022)
 Fort Bliss EIS, Individual and Test Volume and Positivity
                              Unique Individuals       Total Testing                                                                                         Percent Positivity
      Group                         Tested                 Events                                   Positive        Negative        Weekly Positivity              Diff                     Total Tests

  ϭ     Fort Bliss UC                            1,363                          2,854                   39            2,815                1.37%                    -2.08%                     2,967
  Ϯ     Fort Bliss Staff                         1,984                          3,143                    5            3,138                0.16%                    -0.01%                     3,189

Pecos EIS, Individual and Test Volume and Positivity
                                                                            Total Testing                                                                       Percent Positivity
        Group                     Unique Individuals Tested                    Events               Positive        Negative        Weekly Positivity                 Diff                   Total Tests

  ϭ     Pecos UC                                1,102                            2,603                 36             2,566                1.38%                      0.12%                     2,811
  Ϯ     Pecos Staff                             1,475                            2,525                  9             2,516                0.36%                      0.14%                     2,571
 ƚ/^ƐŝƚĞƐ͕ŝŶĚŝǀŝĚƵĂůƐĂƌĞƚĞƐƚĞĚƐĞƌŝĂůůǇĂƉƉƌŽǆŝŵĂƚĞůǇĞǀĞƌǇƚŚƌĞĞĚĂǇƐ͘ĚĚŝƚŝŽŶĂůůǇ͕ĐŽŶĨŝƌŵĂƚŽƌǇŵŽůĞĐƵůĂƌƚĞƐƚƐĂƌĞ typically used in accordance with the following algorithm. Individuals receive a
 ŵŽůĞĐƵůĂƌƚĞƐƚŝĨϭͿƚŚĞǇƌĞĐĞŝǀĞĂƉŽƐŝƚŝǀĞĂŶƚŝŐĞŶƚĞƐƚƌĞƐƵůƚ͕ϮͿƚŚĞǇƌĞĐĞŝǀĞĂŶĞŐĂƚŝǀĞĂŶƚŝŐĞŶƚĞƐƚƌĞƐƵůƚĂŶĚĂƌĞƐǇŵƉtomĂƚŝĐ͕ŽƌϯͿƚŚĞǇƚĞƐƚĞĚƉŽƐŝƚŝǀĞǁŝƚŚĂŶĂŶƚŝŐĞŶƚĞƐƚƵƉŽŶĞǆŝƚŝŶŐĂWƐŝƚĞ
 prior to intake at an EIS site. Molecular tests may also be used at the discretion of testing staff.
 Unique_Individuals_Tested– Count of distinct individuals receiving one or more tests.

 Total_Testing_Events – Captures the total number of times individuals presented for testing regardless of the number of tests performed during each testing event.
 Positive – dĞƐƚŝŶŐĞǀĞŶƚƐƌĞƐƵůƚŝŶŐŝŶĂƉŽƐŝƚŝǀĞŵŽůĞĐƵůĂƌƚĞƐƚ͕ŽƌĂƉŽƐŝƚŝǀĞĂŶƚŝŐĞŶƚĞƐƚŶŽƚƌĞĨůĞǆĞĚƚŽĂŵŽůĞĐƵůĂƌƚĞƐƚ͘

 Negative – dĞƐƚŝŶŐĞǀĞŶƚƐƌĞƐƵůƚŝŶŐŝŶϭͿĂŶĞŐĂƚŝǀĞĂŶƚŝŐĞŶƚĞƐƚĂŶĚŶŽŵŽůĞĐƵůĂƌƚĞƐƚƌĞƐƵůƚŽƌϮͿĂŶĞŐĂƚŝǀĞŵŽůĞĐƵůĂƌƚĞƐƚƌĞŐĂƌĚůĞƐs of antigen results

 Weekly_Positivity is calculated by dividing the weekly positive testing events by the weekly total testing events.
 Total_Test_Results – Total number of tests performed
 Percent_Positivity_Diff – Difference in percent positivity between the current week and the previous week                                                                                                              12
                                                                                   FOR OFFICIAL USE ONLY – DO NOT DISTRIBUTE




                                                                                                                                                                                                        AZT42AR0000946
                  Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 446 of 566 PageID #:
                                                      2854




                                                       DRAFT – PRE-DECISIONAL & DELIBERATIVE                                                        As of 03/28/22


                                    Percent positivity at Ft Bliss over time




Some difference in positivity rates seen over time between Ft Bliss and Pecos EIS sites is due to Ft. Bliss being designated as a preferred destination
for UC screening positive at CBP sites
                                                                                                                                                          13
                                                    FOR OFFICIAL USE ONLY – DO NOT DISTRIBUTE




                                                                                                                                            AZT42AR0000947
          Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 447 of 566 PageID #:
                                              2855




                                   DRAFT – PRE-DECISIONAL & DELIBERATIVE                                                As of 03/28/22




Ft. Bliss UCs - number of days from intake to first positive confirmatory test


                                                                                 Category      Count   Percentage
                                                                              Day 0 (Intake)   Ϯϵϲϱ     ϴϳ͘ϰϲй
                                                                              1 - 3 days       Ϯϱϭ       ϳ͘ϰϬй
                                                                              4 - 6 days       ϭϭϮ       ϯ͘ϯϬй
                                                                              7 - 9 days        ϯϰ       ϭ͘ϬϬй
                                                                              шϭϬĚĂǇƐ         Ϯϴ       Ϭ͘ϴϯй




                                                                                                                              14
                                  FOR OFFICIAL USE ONLY – DO NOT DISTRIBUTE




                                                                                                                    AZT42AR0000948
                                          Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 448 of 566 PageID #:
                                                                              2856




                                                                   DRAFT – PRE-DECISIONAL & DELIBERATIVE                          As of 03/28/22


                               Fort Bliss UCs - number of days from intake to first positive confirmatory test
Number of days from intake to positive confirmatory test by
week, Fort Bliss UC
                                                   Total
                Day 0   1-3    4-6    7-9     Weekly
   Week       (Intake) days   days   days    days  Tests
 2021-08-09     278     40     6      0        0     324
 2021-08-16     231     30     29     10      5      305
 2021-08-23     376     24     8      7        4     419
 2021-08-30     294     16     10     0        0     320
 2021-09-06     146     10     8      5        3     172
 2021-09-13     70      10     1      1        0      82
 2021-09-20     130     4      0      0        0     134
 2021-09-27     48      10     4      0        0      62
 2021-10-04     18      3      1      0        0      22
 2021-10-11     16      0      3      0        0      19
 2021-10-18      4      0      3      1        0      8
 2021-10-25     21      2      0      1        0      24
 2021-11-01     43      3      1      0        0      47
 2021-11-08     13      2      1      1        1      18
 2021-11-15      7      0      1      0        1      9
 2021-11-22     16      4      1      0        0      21
 2021-11-29     16      0      2      1        1      20
 2021-12-06     21      7      0      2        0      30
 2021-12-13     19      3      1      1        0      24
 2021-12-20      2      1      0      0        1      4
 2021-12-27      5      1      1      1        2      10
 2022-01-03      1      0      0      0        8      9
 2022-01-10      5      2      0      0        1      8
 2022-01-17     84      5      4      0        0      93
 2022-01-24     184     22     7      0        0     213
 2022-01-31     193     13     3      0        0     209
 2022-02-07     257     12     2      1        0     272
 2022-02-14     191     5      5      0        0     201
 2022-02-21     116     8      1      0        0     125
 2022-02-28     12      3      1      1        0      17
2022-03-07      51      4      2      0        0      57
2022-03-14      66      4      2      0        0      72                                                                                15
2022-03-21      31      3      3      1        1      39
                                                                  FOR OFFICIAL USE ONLY – DO NOT DISTRIBUTE




                                                                                                                              AZT42AR0000949
               Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 449 of 566 PageID #:
                                                   2857




                                                    DRAFT – PRE-DECISIONAL & DELIBERATIVE                                                      As of 03/28/22


                                   Percent positivity at Pecos over time




Some difference in positivity rates seen over time between Ft Bliss and Pecos EIS sites due to Ft. Bliss being designated as a preferred
destination for UC screening positive at CBP sites
                                                                                                                                                     16
                                                  FOR OFFICIAL USE ONLY – DO NOT DISTRIBUTE




                                                                                                                                           AZT42AR0000950
        Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 450 of 566 PageID #:
                                            2858




                                 DRAFT – PRE-DECISIONAL & DELIBERATIVE                                             As of 03/28/22




Pecos UCs - number of days from intake to first positive confirmatory test

                                                                                Category     Count   Percentage
                                                                            ĂǇϬ;/ŶƚĂŬĞͿ   ϯϵϴ      ϲϮ͘ϴϴй
                                                                            ϭ- ϯĚĂǇƐ       ϭϭϬ      ϭϳ͘ϯϴй
                                                                            ϰ- ϲĚĂǇƐ        ϲϮ       ϵ͘ϳϵй
                                                                            ϳ- ϵĚĂǇƐ        ϯϮ       ϱ͘Ϭϲй
                                                                            шϭϬĚĂǇƐ         ϯϭ       ϰ͘ϵϬй




                                                                                                                         17
                                FOR OFFICIAL USE ONLY – DO NOT DISTRIBUTE




                                                                                                               AZT42AR0000951
                                            Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 451 of 566 PageID #:
                                                                                2859




                                                                     DRAFT – PRE-DECISIONAL & DELIBERATIVE                          As of 03/28/22



                Pecos UCs - number of days from intake to first positive confirmatory test
Number of day s from intake to positive c onfirmatory
test by w eek, Pec os UC
                                                    Total
              Day 0 1-3      4-6    7-9       W eekly
  W eek      (Intake) days   days   days   days     Tests
2021-09-13      5      3      0      0      0         8
2021-09-20      1      1      0      3      0         5
2021-09-27     13      3      4      2      0        22
2021-10-04      1      1      2      1      1         6
2021-10-11     13      3      0      0      0        16
2021-10-18      3      2      0      3      0         8
2021-10-25      1      0      0      0      1         2
2021-11-01      3      2      0      0      0         5
2021-11-08      4      2      1      1      0         8
2021-11-15      1      0      1      1      0         3
2021-11-22      2      4      2      0      1         9
2021-11-29      1      3      3      2      0         9
2021-12-06      2      0      1      1      0         4
2021-12-13      1      0      0      0      0         1
2021-12-20      0      0      0      0      2         2
2021-12-27      1      0      1      2      11       15
2022-01-03      0      0      1      0      3         4
2022-01-10      0      0      1      0      0         1
2022-01-17     106    10      2      0      0        118
2022-01-24     39     38     17      4      0        98
2022-01-31      0      7      6      8      10       31
2022-02-07      1      3      2      0      2         8
2022-02-14      7      3      1      0      0        11
2022-02-21     31      6      6      2      0        45
2022-02-28     34      2      2      0      0        38
2022-03-07     70      7      1      0      0        78
                                                                                                                                          18
2022-03-14     24      6      5      1      0        36
2022-03-21     27      4      2      1      0        34             FOR OFFICIAL USE ONLY – DO NOT DISTRIBUTE




                                                                                                                                AZT42AR0000952
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 452 of 566 PageID #:
                                           2860
                     Unclassified // FOUO // Law Enforcement Sensitive


                   UNITED STATES DEPARTMENT OF HOMELAND SECURITY




                                  DHS
                          Southwest Border Mass
                           Irregular Migration
                            Contingency Plan
                                            February 17, 2022




  WARNING: This document is FOR OFFICIAL USE ONLY (FOUO). It contains information that may be
  exempt from public release under the Freedom of Information Act (5 U.S.C. 552). It is to be controlled,
  stored, handled, transmitted, distributed, and disposed of in accordance with U.S. Department of Homeland
  Security (DHS) policy relating to FOUO information and is not to be released to the public or other
  personnel who do not have a valid “need-to-know” without prior approval of an authorized DHS official.


                                               Page 1 of 115
                                     FOR OFFICIAL USE ONLY
                                 Pre-decisional internal working draft


                                                                                               AZT42AR0000953
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 453 of 566 PageID #:
                                           2861
                     Unclassified // FOUO // Law Enforcement Sensitive

                                                        EXECUTIVE SUMMARY
                   The DHS Southwest Border (SWB) Mass Irregular Migration Contingency Plan
        Mission: When directed by the Secretary of Homeland Security, the Department of Homeland
        Security (DHS), in conjunction with international and homeland security enterprise mission partners,
        will take action to humanely prevent and respond to surges in irregular migration across the U.S.
        Southwest Border Security and Irregular Migration Zone (SWB-IMZ). 1 This will be done while
        ensuring that migrants can apply for any form of relief or protection for which they may be eligible,
        including asylum, withholding of removal, and protection from removal under the regulations
        implementing United States obligations under the Convention Against Torture.
        Purpose: This Plan complies with Executive Order 14010—Creating a Comprehensive Regional
        Framework to Address the Causes of Migration, to Manage Migration Throughout North and Central
        America, and to Provide Safe and Orderly Processing of Asylum Seekers at the United States Border
        and is designed to meet the immediate needs (current and near-term) of humanely stemming irregular
        migration at the SWB by creating capacity, security, and cooperation across the whole Western
        Hemisphere. Leveraging whole of government diplomacy, legislation, policy, partner engagements,
        command-control-communications, intelligence, and surveillance enhancements, it will set the
        foundation for long-term solutions in a Whole of Western Hemisphere 2 approach. The Plan replaces
        the DHS Campaign Plan for Securing the United States Southern Border and Approaches (2015) and
        DHS SWB Land Migration Contingency Plan (2015). This Plan will remain in effect until rescinded
        and will be updated at least once every 18 months after approval.
        Overview: The DHS Southwest Border (SWB) Mass Irregular Migration Contingency Plan (hereafter
        the Plan) is a scalable and flexible plan of action that improves upon currently approved plans and
        operational activities. The Plan is based upon lessons learned and best practices garnered from 2016
        through 2022 to meet current and anticipated migration activity and surges.
        The Plan was developed and reviewed by DHS Components, Offices, and the Joint Task Force - East
        (JTF-E) before being approved by the Secretary.
        The United States (U.S.) Customs and Border Protection (CBP) Southwest Border (SWB):
        Contingency Plan CBP Integrated SWB Mass Irregular Migration, is nested underneath the DHS
        Plan; specifically addresses how migrants will be processed; can be implemented as a stand-alone
        document or as a subordinate plan to the DHS SWB Mass Irregular Migration Contingency Plan. The
        CBP plan provides specific details on operational and tactical operations that will be conducted
        within the SWB area of operations.
        Both plans are aligned in support of the Department’s Whole of Western Hemisphere approach to
        prevent and respond to a Mass Irregular Migration events along the SWB.




 1
  The Southwest Border Security and Irregular Migration Zone accounts for irregular migration across the Hemisphere from the Pacific Ocean off
 Southern California, across the Caribbean to Puerto Rico and the Virgin Islands, and on to South America. The region includes approximately
 2,000 miles of land border with Mexico, 3,050 miles of coastline along California, the Gulf of Mexico, and Florida, as well as the airspace
 spanning U.S. territorial land and waters, and international waters of the Eastern Pacific Ocean, and Caribbean Sea.

 2
   Whole of Western Hemisphere is defined as the North America (including the United States), Central and South America, and the Caribbean
 islands and surrounding waters that encompass the major transit corridor for illicit narcotics and are the primary source of irregular migration to
 the United States. The focus is upon the 35 independent states of the Americas that constitute the main governments in the Hemisphere and their
 relationship with the United States with regards to border security and immigration enforcement.

                                                                  Page 2 of 115
                                                  FOR OFFICIAL USE ONLY
                                              Pre decisional internal working draft


                                                                                                                                     AZT42AR0000954
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 454 of 566 PageID #:
                                    2862




                                                                      AZT42AR0000955
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 455 of 566 PageID #:
                                    2863


       4. Strategic Communications. The purpose of this LOE is to enhance efforts to stem irregular
          migration through regional partnerships across the SWB-IMZ through detailed partner outreach
          efforts designed to support the achievement of the other three lines of effort.
       Concept of Operation Overview: The base Plan will follow four phases. While the Phases are
       arranged sequentially, they do not all need to be activated, the goal is to seek offramps before the
       incident reaches the triggers for the next Phase. Ultimately, this Plan is a guide to actions that once in
       place will reduce irregular migration and its impact. Details of the phases of the plan can be found in
       the Annex C. Key activities in the four phases include:
       o    Phase 1: Initial Influx (Level 3 SBCC general staff activation ~10-25% for internal coordination)




  LES
       o    Phase 2: Major Influx (Level 2 SBCC general staff activation ~25-75% expansion to interagency
            coordination)




  LES
  3The DHS SWB Task force was established in February 2021 to improve DHS Headquarters situational awareness regarding irregular
  migration. This Task Force developed numerous digital tools and databases that will be critical for the SBCC to adopt and maintain.
                                                               Page 4 of 115
                                               FOR OFFICIAL USE ONLY
                                           Pre-decisional internal working draft


                                                                                                                               AZT42AR0000956
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 456 of 566 PageID #:
                                    2864




                                                                      AZT42AR0000957
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 457 of 566 PageID #:
                                           2865
                     Unclassified // FOUO // Law Enforcement Sensitive

                                          TABLE OF CONTENTS


  Cover Page                                                        1
  Executive Summary                                                 2
  Table of Contents                                                 6
  1. Situation                                                      7
      A. Mission                                                    7
      B. Background                                                 7
      C. Authorities and References                                 10
      D. Operational Risk                                           10
      E. Critical Interagency Dependencies                          10
      F. Critical Facts and Key Actions                             13
      G. Critical Assumptions                                       14
  2. Mission                                                        15
  3. Execution                                                      16
      A. Secretary’s Intent                                         16
      B. Concept of Operations                                      16
      C. Plan Lines of Effort                                        17
      D. Key Roles and Responsibilities                             25
      E. Department Objectives                                      36
      F. Critical Information Requirements                          37
  4. Administration, Resources, and Funding                         38
      A. Administration                                             38
      B. Resources                                                  38
      C. Funding                                                    38
  5. Oversight, Coordinating Instructions, and Communications       38
      A. Oversight                                                  39
      B. Coordinating Instructions                                  39
      C. Communications                                             39
  ANNEXES                                                           39




                                              Page 6 of 115
                                     FOR OFFICIAL USE ONLY
                                 Pre decisional internal working draft


                                                                          AZT42AR0000958
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 458 of 566 PageID #:
                                    2866




                                                                      AZT42AR0000959
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 459 of 566 PageID #:
                                           2867
                     Unclassified // FOUO // Law Enforcement Sensitive




LES


                                   Page 8 of 115
                            FOR OFFICIAL USE ONLY



                                                                      AZT42AR0000960
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 460 of 566 PageID #:
                                           2868
                     Unclassified // FOUO // Law Enforcement Sensitive




  LES


                                     Page 9 of 115
                             FOR OFFICIAL USE ONLY
                         Pre decisional internal working draft


                                                                      AZT42AR0000961
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 461 of 566 PageID #:
                                           2869
                     Unclassified // FOUO // Law Enforcement Sensitive

    C. Authorities and References (See Annex X).
    D. Operational Risk.
        1) Operational Risk identification is the process of identifying, assessing, and controlling for
           risks arising from operational factors and making decisions that balance risk costs with
           mission benefits. The operational risks for the DHS primary mission essential functions of a
           mass irregular migration event include:




          LES
    E. Critical Interagency Dependencies.
        1. Department of Health and Human Services (HHS)




          LES
            e. Policy Issues for Resolution:

             DPP
                                               Page 10 of 115
                                   FOR OFFICIAL USE ONLY
                               Pre decisional internal working draft


                                                                                              AZT42AR0000962
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 462 of 566 PageID #:
                                           2870
                     Unclassified // FOUO // Law Enforcement Sensitive




            DPP
        1) Department of Justice (DOJ).




         LES
           e. Policy Issue for Resolution.




         DPP
        2) Department of Defense (DOD).




         LES
LES
                                             Page 11 of 115
                                 FOR OFFICIAL USE ONLY
                             Pre-decisional internal working draft


                                                                      AZT42AR0000963
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 463 of 566 PageID #:
                                           2871
                     Unclassified // FOUO // Law Enforcement Sensitive




       LES
         c. Policy Issues for Resolution.




       DPP
        3) Department of State (DOS).




          LES
           c. Policy Issues for Resolution.




             DPP                              Page 12 of 115
                                 FOR OFFICIAL USE ONLY
                             Pre-decisional internal working draft


                                                                      AZT42AR0000964
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 464 of 566 PageID #:
                                           2872
                     Unclassified // FOUO // Law Enforcement Sensitive




            DPP
    F. Critical Facts and Key Actions.




LES

                                         Page 13 of 115
                                 FOR OFFICIAL USE ONLY
                             Pre-decisional internal working draft


                                                                      AZT42AR0000965
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 465 of 566 PageID #:
                                    2873




                                                                      AZT42AR0000966
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 466 of 566 PageID #:
                                    2874




                                                                      AZT42AR0000967
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 467 of 566 PageID #:
                                           2875
                     Unclassified // FOUO // Law Enforcement Sensitive

      removal, and protection from removal under the regulations implementing United States obligations
      under the Convention Against Torture.


  3. EXECUTION.
       A. Secretary’s Intent.
             1) Purpose: The purpose of this plan is to describe a proactive approach that humanely prevents
                and responds to surges in irregular migration across the U.S. SWB-IMZ. This will be done
                while ensuring that migrants can apply for any form of relief or protection for which they
                may be eligible, including asylum, withholding of removal, and protection from removal
                under the regulations implementing United States obligations under the Convention Against
                Torture.
             2) Method: This Plan addresses mass irregular migration across the SWB-IMZ of operations by:
                  •     Implementing a “Whole of Western Hemisphere” approach to build capacity and respond
                        to irregular migrant flows across the SWB-IMZ.
                  •     Implement a proactive whole of government approach to prevent and respond to irregular
                        migrant flows and build capacity to enable the Department and DHS Components to
                        enforce immigration laws.
                  •     Mitigate/eliminate current SWB-IMZ capability gaps.
                  •     Provide the operational oversight and coordination architecture for a whole of
                        government approach to minimize complexities of joint, multi-agency operations.
                  •     Create the foundation to enable DHS to become operational/logistically self-sufficient
                        and not dependent on external support for steady-state operations. 11
                  •     Ensuring unity of effort with a lead federal agency and organizing around NIMS/ICS
                        principles.
                  •     Managing U.S. government operational resources in a manner that will utilize resources
                        and manpower from departments/agencies where most needed and implement economy
                        of force operations in other areas.
             3) End State: Execution of this Plan will meet the immediate needs of stemming migration by
                creating capacity across the SWB-IMZ through recommended diplomacy, legislation, policy,
                partner engagement, command-control-communications, intelligence and surveillance, and
                budget enhancements, and long-term improvement to processing, logistics, and medical
                capabilities.
       B. Concept of Operations. The Department will expand our existing capabilities (diplomacy,
          policy, partner engagement, command-control-communications, intelligence and surveillance,
          and budget enhancements, and long-term improvement to processing, logistics and medical
          capabilities) to deter and respond to irregular migration throughout the SWB-IMZ. DHS will
          actively engage with external partners (international and homeland security enterprise partners) to
          humanely prevent and respond to irregular migration. This will be accomplished through a
          comprehensive Whole of Western Hemisphere approach. Correspondingly, DHS will be poised to

  11 Steady state is defined as those operations which can be accomplished by an area’s organic resources without adversely impacting overall

  safety, security, and mission execution.

                                                               Page 16 of 115
                                                FOR OFFICIAL USE ONLY
                                            Pre decisional internal working draft


                                                                                                                                  AZT42AR0000968
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 468 of 566 PageID #:
                                           2876
                     Unclassified // FOUO // Law Enforcement Sensitive

             immediately respond to any surge in irregular migration through an aggressive capacity building
             program within the main area of operations. These efforts are designed to stabilize and reduce the
             irregular migration flow throughout the SWB-IMZ. This will be done while ensuring that
             migrants have the ability to apply for any form of relief or protection for which they may be
             eligible, including asylum, withholding of removal, and protection from removal under the
             regulations implementing United States obligations under the Convention Against Torture.
       C. Plan Lines of Effort: The SWB Mass Irregular Migration Plan has four lines of effort. 12 Each
          LOE is a functional, cross-programmatic effort team established to identify priority requirements.
          These teams have been established based on the following:
                   •     Mission analysis indicates a potential shortfall or complication in the delivery of one or
                         more core capabilities that requires dedicated contingency planning support.
                   •     The situation presents unique challenges to formulate a cohesive concept of operations or
                         support constructs across multiple functions, programs, areas of responsibility (AOR),
                         and disciplines.
                   •     The scale, scope, and complexity of the issue requires extraordinary coordination
                         between and among DHS components.
                   •     The situation requires a level of support and coordination that exceeds the capacity
                         capabilities of a single DHS component.
                   •     DHS SWB LOE working groups will be established within the SBCC general staff and
                         functional area leads will be designated by the SCO/SRO to develop federal-to-federal
                         support agreements. All LOE working groups will be identified and coordinated by the
                         SCO/SRO through the SBCC general staff chief of staff. Proposals for new support
                         agreements or changes to LOE will be provided to the SCO/SRO and the MAG-P and
                         include a justification and proposed concept of implementation.
             A summary of the four DHS SWB LOE is provided in the paragraphs below.
             1) LOE # 1: DHS SWB Integrated Operations.
                    a. Purpose. This LOE ensures that the Department approach is forward looking (proactive
                       versus reactive) and prepared to immediately prevent and respond to a surge or Mass
                       Irregular Migration along the SWB.
                    b. End State. The desired end-state is that DHS integrated operations result in discouraging
                       large scale illegal migrant flow across the SWB and enables the Department to better
                       address prevention and response actions.
                    c. Delegated Authority. The LOE working group will operate within established DHS
                       protocols and statutory authorities. Additional guidance/authority will be provided by the
                       Secretary, Deputy Secretary, and SCO/SRO as appropriate.
                    d. Resources. This LOE will require support agreements to marshal resources in support of
                       operations across the SWB-IMZ:
                         (1) Provide intelligence and expedited multi-agency/cross-Component headquarters
                             coordination/deconfliction capabilities to support integrated operations.
                         (2) Develop/sustain the capability to rapidly shift capabilities (transportation, holding,

  12
     A line of effort (LOE) is a mechanism that links multiple tasks and activities using purpose (cause/effect) toward achieving specific strategic
  and operational level conditions.
                                                                  Page 17 of 115
                                                  FOR OFFICIAL USE ONLY
                                              Pre-decisional internal working draft


                                                                                                                                        AZT42AR0000969
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 469 of 566 PageID #:
                                           2877
                     Unclassified // FOUO // Law Enforcement Sensitive

                    medical, etc.) based on migrant flow that exceeds DHS capabilities.
                (3) Subject matter expertise in the form of detailed staff from DHS Components,
                    Offices, and JTF-E to the SBCC general staff.
        2) LOE # 2: DHS SWB Infrastructure and Resources.




LES
        3) LOE # 3: External Collaboration and Coordination.
           a. Purpose. This LOE is required to ensure that DHS has established the necessary
              architecture to address the significant external collaboration and coordination required to
              prevent migrant flow and facilitate response with border homeland security enterprise
              partners.
            b. End State. The desired end-state is that DHS establishes the ability to rapidly engage
               with external mission partners to coordinate or deconflict SWB security operations.
            c. Delegated Authority. The LOE working group will operate within established DHS
               protocols and statutory authorities. Additional guidance/authority will be provided by the
               Secretary, Deputy Secretary, and SCO/SRO as appropriate.
            d. Resources. This LOE will require the following support agreements to marshal resources
               to in support of operations across the SWB-IMZ:
                (1) For Phase 2, subject matter expertise in the form of detailed or virtual staff from
                                             Page 18 of 115
                                  FOR OFFICIAL USE ONLY
                              Pre-decisional internal working draft


                                                                                                AZT42AR0000970
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 470 of 566 PageID #:
                                           2878
                     Unclassified // FOUO // Law Enforcement Sensitive

                    selected Departments/Agencies (DOD, HHS, DOS, and DOJ) and other homeland
                    security partners (State, local, tribal, private sector, and NGOs) to the SBCC general
                    staff.
                (2) Ability to engage with external partners in person or virtually.
        4) LOE # 4: DHS Strategic Communications.
            a. Purpose. This LOE has been established to support achieving the Secretary’s intent and
               three other lines of effort.
            b. End State. The desired end-state is DHS leverages all available communication forums to
               prevent continued/future large scale migrant flow and informs audiences (external and
               internal) of Department goals and objectives.
            c. Delegated Authority. The LOE working group will operate within established DHS
               protocols and statutory authorities. Additional guidance/authority will be provided by the
               Secretary, Deputy Secretary, and SCO/SRO as appropriate.
            d. Resources. This LOE will require the following support agreements to marshal resources
               to in support of operations across the SWB-IMZ:
                (1) Establish and staff a SWB Joint Information Center (JIC).
                (2) Provide resources to support the execution of a supporting USG/DHS strategic
                    communications plan to enhance Department goals and objectives.
        5) Comparison of the Plan and CBP SWB Plan LOE.
           a. The matrix in Figure 5 summarizes how the CBP LOE nest underneath the DHS SWB
              LOE.
        6) Phase Triggers. The Plan Phase Triggers are synchronized with the CBP Plan and are
           associated with credible intelligence specifying indications and warnings from along the
           route of migration of mass irregular migration formation, allowing DHS to conduct
           preparatory and anticipatory prevention and response actions see Figure 6: Plan Phasing for




LES
                                             Page 19 of 115
                                  FOR OFFICIAL USE ONLY
                              Pre decisional internal working draft


                                                                                               AZT42AR0000971
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 471 of 566 PageID #:
                                           2879
                     Unclassified // FOUO // Law Enforcement Sensitive




LES                         Figure 5: Crosswalk of DHS Plan and CBP Plan Lines of Effort
             7) Phasing.
                  This operation will be conducted in four phases to facilitate the organization /deployment of
                  capabilities across time and space. Both the DHS SBCC and CBP Plans use the same triggers
                  and phase construct (See Figure 6 for a summary of each phase). The phases are:
                         Phase 1: Initial Influx
                         Phase 2: Major Influx
                         Phase 3: Mass Irregular Migration 13
                         Phase 4: Transition to Steady-State
             8) Fundamental information on DHS SWB phases.
                  a. Phase changes are directed by the Secretary, Deputy Secretary, or their designee.
                  b. Activities from previous phases continue into succeeding phases as appropriate.
                  c. Sequence of phasing is based on the operating environment (Phase changes are situation
                     dependent and can include a leap forward, transition back to a previous phase or off ramp
                     to last phase).
             9) Phase 1: Initial Influx. Level 3 SBCC staffing.




  13
             LES
     "Mass migration" is a term of art under EO 13276 that refers to "a migration of undocumented aliens that is of such magnitude and duration
  that it poses a threat to the national security of the United States, as determined by the President.” Since "mass migration" has a specific
  meaning and triggers specific responsibilities and authorities for the Secretary under EO 13276, and requires a Presidential determination, this
  term is not used in this document.
                                                                Page 20 of 115
                                                 FOR OFFICIAL USE ONLY
                                             Pre-decisional internal working draft


                                                                                                                                    AZT42AR0000972
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 472 of 566 PageID #:
                                           2880
                     Unclassified // FOUO // Law Enforcement Sensitive




         LES


                                     Page 21 of 115
                             FOR OFFICIAL USE ONLY
                         Pre-decisional internal working draft


                                                                      AZT42AR0000973
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 473 of 566 PageID #:
                                           2881
                     Unclassified // FOUO // Law Enforcement Sensitive




LES


                                     Page 22 of 115
                             FOR OFFICIAL USE ONLY
                         Pre-decisional internal working draft


                                                                      AZT42AR0000974
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 474 of 566 PageID #:
                                           2882
                     Unclassified // FOUO // Law Enforcement Sensitive




LES


                                     Page 23 of 115
                             FOR OFFICIAL USE ONLY
                         Pre-decisional internal working draft


                                                                      AZT42AR0000975
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 475 of 566 PageID #:
                                           2883
                     Unclassified // FOUO // Law Enforcement Sensitive




LES
                            Figure 6: SWB 2021 Migration Plan Phasing
        10) Phase 2: Major Influx. Level 2 SBCC Staffing.




        LES
                                           Page 24 of 115
                                  FOR OFFICIAL USE ONLY
                              Pre decisional internal working draft


                                                                        AZT42AR0000976
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 476 of 566 PageID #:
                                           2884
                     Unclassified // FOUO // Law Enforcement Sensitive




          LES
        11) Phase 3: Mass Irregular Migration.




      LES
        12) Phase 4: Transition to Steady State.




      LES
     D. Key Roles and Responsibilities.
        1) Common Roles and Responsibilities for all DHS Components, Offices, and Joint Task Force -
                                             Page 25 of 115
                                   FOR OFFICIAL USE ONLY
                               Pre-decisional internal working draft


                                                                                         AZT42AR0000977
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 477 of 566 PageID #:
                                    2885


                  East.
                    a. Support the designated SCO/SRO and provide resources, staff, and coordination
                       capabilities to the SBCC general staff as needed.
                    b. Each DHS Component, Office, and JTF-E will develop a supporting plan as soon as
                       possible after approval of this Plan, if appropriate.
                    c. Support DHS SWB strategic/operational level coordination/deconfliction in
                       collaboration with internal and external mission partners.
                    d. Facilitate DHS Unity of Effort for national-level policy engagement including NSM-2
                       processes and external messaging.
                    e. Provide recommendations to the Secretary on DHS requirements that cannot be resolved
                       within the SWB area of operations.
                    f.    Meet in the MAG-P at a frequency designated by the SCO/SRO and commensurate with
                          the mission environment.
                    g. Provide access and accommodate migrants with disabilities and provide language
                       services for migrants with limited English proficiency in its operations and/or services.
             2) DHS SBCC general staff [Senior Headquarters]. 14
                    a. The SCO/SRO shall coordinate with appropriate USG Departments and Agencies, and
                       State, Local, Tribal, Territorial, and Private organizations involved with immigration,
                       establish federal-to federal support agreements (both pre-scripted and emergent), and
                       direct coordination of DHS Component strategic resource allocation and prioritization
                       including:
                               (1) Establishing the general staff to support SCO/SRO actions to coordinate
                                   operations across the SWB-IMZ and synchronize activity to the response
                                   phases that are triggered by key Departmental indicators and warnings.
                               (2) Defining the SBCC mission and setting the strategic direction and decision-
                                   making process for the MAG-P.
                               (3) Hosting and facilitating the MAG-P.
                               (4) Coordinating the policy and providing guidance on prioritization and allocation
                                   of resources with Interagency Partners and Components.
                               (5) Identifying and coordinating priorities and policy guidance on multi-agency
                                   operations.
                               (6) Coordinating with peer senior executives and officials.
                               (7) Coordinating Strategic Communications and public information.
                               (8) Coordinating guidance to regional and international coordination cells and the
                                   CBP Emergency Operations Center (EOC).
                               (9) Establishing and, if needed, amending, and expanding reporting requirements.
                               (10) Coordinating and developing multi-agency pre-scripted support agreements.


  14
     The SCO/SRO with the general staff coordinates resource, allocation, prioritization, and strategic decision-making required to support CBP,
  the supported Component, to prevent and respond to a mass irregular migration event.
                                                               Page 26 of 115
                                                FOR OFFICIAL USE ONLY
                                            Pre-decisional internal working draft


                                                                                                                                   AZT42AR0000978
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 478 of 566 PageID #:
                                           2886
                     Unclassified // FOUO // Law Enforcement Sensitive

                   (11) Coordinating financial and legal reviews and assessments corresponding to
                        support agreements and irregular migration prevention and response programs
                        and projects.
                   (12) Establishing, staffing, and overseeing LOE working groups and other general
                        staff, staff sections, branches, and units.
                   (13) Coordinating irregular migration root cause intelligence, information sharing,
                        and investigations across the SWB-IMZ.
                   (14) Coordaining Interagency partner and DHS Component interactions with
                        international, and interagency partner actions aimed at disrupting TCOs that are
                        contributing to irregular migration.
                   (15) Monitoring indications and warning of irregular migration within the area of
                        operations to further inform stabilization, restoration, and response operations,
                        policy, and guidance.
                   (16) Coordinating interagency and Departmental operations undertaken across the
                        SWB-IMZ to prevent and respond to irregular migration.
                   (17) Establishing real-time information sharing and synchronizing reporting and
                        external coordination and communications with the CBP led SWAG/EOC to
                        ensure consistent, mutually supporting operations consistent with law and DHS
                        privacy policy.
                   (18) Integrating counter-network operations intended to target the illicit networks’
                        infrastructure, logistics, communications, and financial capabilities and
                        capacities to diminish the surge across the SWB.
                   (19) Coordinating with the Interagency and Components to unify international and
                        interagency intelligence, interdiction, and investigative efforts to target the
                        identified illicit networks’ infrastructure, logistics, communications, and
                        financial capabilities and capacities of criminal organizations involved in
                        smuggling and trafficking.
                   (20) Coordinating with the Interagency and Components to identify and prioritize
                        facilitators associated with human smuggling networks and customize
                        consequence delivery (administrative, investigative and enforcement)
                        leveraging interagency and international partners prosecutorial and
                        jurisdictional capabilities from point of origin to destination.
            b. Support the MAG-P to support SBCC directed strategic resource allocation,
               prioritization, and coordination actions in support of CBP, to coordinate Command,
               Control, Communications, and Coordination across the SWB-IMZ.
                   (1) Utilize existing USG and Partner Command, Control and Coordination
                       structures to organize a Whole of Western Hemisphere approach to stemming
                       irregular migration and its root causes.
                   (2) Leverage existing international and inter-governmental partners and programs to
                       identify, prioritize and target illicit networks associated with irregular migration.
                       Generate after action reviews, update plans, and apply best practices for
                       responding to future surge operations.
                   (3) Leverage existing communications platforms to provide clear, concise,
                                            Page 27 of 115
                                 FOR OFFICIAL USE ONLY
                             Pre-decisional internal working draft


                                                                                                AZT42AR0000979
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 479 of 566 PageID #:
                                           2887
                     Unclassified // FOUO // Law Enforcement Sensitive

                         consistent messaging and promote efforts to prevent and respond to irregular
                         migration threats within the area of operations.
            c. Coordinate with appropriate DHS, USG, and Partner organizations to synchronize
               existing, strategic resources for contingency logistics across the SWB-IMZ.
                     (1) Including air and ground transportation resources (e.g., DOD, DOJ, CBP, ICE
                         [Homeland Security Investigations (HSI) & ERO], and USCG) to disaggregate
                         masses of migrants threatening to stress border stations and POE capacity, and
                         expeditiously repatriate migrants to their countries of origin or to transfer
                         migrants from a DHS temporary holding facility to a DHS holding facility or
                         HHS shelter.
                     (2) Based on DHS holding and detention capacity and time-in-custody, coordinate
                         with appropriate DHS Components, USG, and Partner organizations to
                         incorporate additional air and ground transportation resources to disaggregate
                         migrants within the area of operations.
                     (3) Facilitate the strategic resources needed to increase air transportation
                         capabilities to support timely repatriation of undocumented migrants.
        3) U.S. Customs and Border Protection (CBP) [Supported Component/Main Effort].
           a. CBP is the Main Effort reporting to and coordinating support through the Senior
              Headquarters, the SCO/SRO general staff.
           b. Establish CBP Emergency Operation Center (EOC) to coordinate with the general staff
              and oversee UCG operations and.
           c. Establish coordination capabilities based on the Incident Command Structure (ICS).
           d. Utilize intelligence to develop an early warning system for the workforce and external
              partners.
           e. Expeditiously move noncitizens through CBP processing.
           f.   Safely and expeditiously transport noncitizens to their next destination in the process as
                appropriate.
           g. Provide medical triage and health resources (See Annex M).
           h. Maintain levels of training and security standards to safely process noncitizens.
           i.   Ensure the safety and security of noncitizens and the workforce.
           j.   Identify shortfalls in funding and resourcing, define requirements, and work with the
                general staff to request necessary goods and services to meet those requirements.
           k. In coordination with the SBCC general staff and MAG-P to establish pre-scripted support
              agreements and request support from across the whole of government.
           l.   In coordination with the SBCC general staff and MAG-P to manage interagency requests
                and actions.
           m. Provide front line personnel with appropriate wellness and resilience support.
           n. Facilitate and support this Plan to ensure CBP, ICE, and I&A create an inclusive
              intelligence, interdiction, investigative, and enforcement capability coupled with
              enhanced foreign partnerships, while also addressing educational, economic, and rule of

                                              Page 28 of 115
                                   FOR OFFICIAL USE ONLY
                               Pre decisional internal working draft


                                                                                                    AZT42AR0000980
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 480 of 566 PageID #:
                                    2888




                                                                      AZT42AR0000981
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 481 of 566 PageID #:
                                    2889




                                                                      AZT42AR0000982
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 482 of 566 PageID #:
                                           2890
                     Unclassified // FOUO // Law Enforcement Sensitive

           a. All support from USCG is contingent upon official request and availability of personnel
              and resources.
           b. In coordination with the SCO/SRO and general staff, establish pre-scripted support
              agreements, provide requested support, resources, and personnel to meet mass irregular
              migration events, as available.
           c. Provide operational support and staffing to the SBCC general staff, MAG-P as needed via
              coordination with the general staff and CBP SWAG/EOC (see Annex A Tab A and B for
              general staff and MAG-P requirements).
           d. Success in land migration may coincide with success in maritime migration and that may
              be an increasing strain on CG resources.
           e. Provide support to DHS SWB general staff through the CBP EOC and SWAG.
           f.   Provide air transportation for undocumented migrants.
           g. Provide incident management and planning assistance via the USCG Incident
              Management Assistance Team.
           h. Provide migrant medical screening support to non-medical CBP law enforcement
              officers.
           i.   Provide maritime law enforcement support in littorals adjacent to the DHS SWB-IMZ
                main area of operations and across the CENTAM area of influence and Caribbean,
                Pacific, and Atlantic areas of Interest.
           j.   Provide logistical, contracting, and incident management and planning expertise as
                appropriate.
           k. Facilitate and support this Plan to ensure an inclusive intelligence, interdiction,
              investigative, and enforcement capability coupled with enhanced foreign partnerships,
              while also addressing educational, economic, and rule of law gaps.
        8) Office of the General Counsel (OGC) [Supporting].
           a. In coordination with the SBCC general staff and MAG-P, establish pre-scripted support
              agreements, provide requested support, resources, and staffing to assist the general staff
              with coordinating the USG efforts to prevent and respond to irregular migration (see
              Annex A Tab A and B for general staff and MAG-P requirements).
           b. Responsible for legal review and legal planning efforts supporting the agency’s response
              to a surge or emergency event.
           c. Responsible for providing real-time legal guidance on emerging issues related to the
              agency’s coordination and management of surge response-related policies and operations.
           d. Responsible for coordinating with the Department of Justice, Civil Division, and the HHS
              Office of the General Counsel and in relation to preparations for and response to a surge
              or emergency event.
           e. Represent DHS, through ICE OPLA, in proceedings before the Immigration Courts and
              the Board of Immigration Appeals.
           f.   Provide advice on applicable decisions, policies, guidance, and other relevant documents
                to ensure compliance with constitutional, legal, regulatory and policy requirements.
        9) United States Citizenship and Immigration Services (USCIS) [Supporting].
                                            Page 31 of 115
                                  FOR OFFICIAL USE ONLY
                              Pre decisional internal working draft


                                                                                              AZT42AR0000983
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 483 of 566 PageID #:
                                    2891




                                                                      AZT42AR0000984
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 484 of 566 PageID #:
                                           2892
                     Unclassified // FOUO // Law Enforcement Sensitive

           c. Ensure the health and well-being of the DHS workforce involved in the execution of this
              Plan by providing health and medical guidance to medical and non-medical personnel.
            d. Provide medical direction and oversight of DHS personnel involved in the screening of
               migrants and detainee care programs.
            e. Provide health guidance for the care and custody of interdicted and housed
               undocumented migrants, to include emerging infectious diseases.
            f.   Provide for the coordination of interagency health issues as they pertain to the
                 preparation and execution of this Plan including workforce and persons in the care and
                 custody of DHS.
            g. Provide reports and updates on pandemic or emerging infectious diseases to DHS
               leadership and the Department with situational awareness products and reports via the
               National Bio-Surveillance Integration Center (NBIC) layer of the DHS Common
               Operating Picture.
           h. At the Secretary’s or Deputy Secretary’s direction, coordinate with the National Security
              Staff and appropriate Congressional Committees as well as interagency partners, state,
              local, tribal, and territorial entities regarding health-related issues.
        12) Office of Strategy, Policy, and Plans (PLCY) [Supporting].
            a. In coordination with the SBCC general staff and MAG-P, establish pre-scripted support
               agreements, provide requested support, resources, and staffing to assist the general staff
               with coordinating the USG efforts to prevent and respond to irregular migration (see
               Annex A Tab A and B for SBCC general staff and MAG-P requirements).
            b. Coordinate through the SCO/SRO and general staff for the implementation of senior
               leadership irregular migration policy and guidance including:
                 (1) Coordinate international partner assistance with DOD and DOS as appropriate.
                 (2) Coordinate international interagency processes with federal partners.
                 (3) Coordinate cross-Component policy issues.
                 (4) Support senior-level engagement between DHS, external partners, including
                     international partners, foreign governments, and other communities of interest, as
                     needed.
                 (5) Coordinate with DOS for engagement with international partners and to initiate
                     reception processing for removed individuals.
                 (6) Coordinate application of domestic immigration policy.
           c. Support and work with and through the SBCC general staff, and MAG-P to:
                 (1) Expand international engagement (including conducting meetings or a conference) to
                     facilitate stemming the flow of migrants across the Western Hemisphere.
                 (2) Work with DOS to request UNHCR and other organizations coordinate
                     transportation of migrants with USG and partner nations to deter/reduce the
                     humanitarian aid burden at the SWB NLT one month after the Plan is approved.
                 (3) Support the expansion of DHS presence across the region to support a Whole of
                     Western Hemisphere approach to stem the flow of migrants within sixty days of plan
                     approval.
                                              Page 33 of 115
                                    FOR OFFICIAL USE ONLY
                                Pre decisional internal working draft


                                                                                                AZT42AR0000985
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 485 of 566 PageID #:
                                           2893
                     Unclassified // FOUO // Law Enforcement Sensitive

               (4) Increase engagement with INA and CBP and ICE Attachés and DOS to track/share
                   migrant movement in Mexico and CENTAM with planning stakeholders NLT one
                   month after the Plan is approved.
               (5) Encourage and incentivize, GOM to ensure compliance with Mexican immigration
                   law to deter/reduce migrant flow NLT one month after the Plan is approved.
               (6) Advance DHS mission sets with host nations, support program implementation, and
                   create cooperation frameworks to improve international engagement.
        13) Federal Emergency Management Agency (FEMA) [Supporting].
           a. When requested by the DHS Secretary, FEMA will provide technical assistance to assist
              the SBCC general staff and MAG-P in coordinating with interagency partners to deliver
              federal support across core capabilities.
           b. As required, Region 6 and 9 assists in coordination with state emergency managers on
              potential impacts to local communities and NGOs.
           c. Provide logistical, contracting, incident management and planning expertise.
        14) Office of Partnership and Engagement (OPE) [Supporting].
           a. In coordination with the SBCC general staff and MAG-P, establish pre-scripted support
              agreements, provide requested support, resources, and staffing to assist the general staff
              with coordinating the USG efforts to prevent and respond to irregular migration (see
              Annex A Tab A and B for general staff and MAG-P requirements).
           b. Coordinate outreach to Federal, State, Local, Tribal, and Territorial elected and appointed
              officials, in conjunction with SBCC general staff and MAG-P, OPA, FEMA, CBP, ICE,
              and others as appropriate.
           c. Coordinate the deployment of Component personnel for the purposes of serving as
              intergovernmental liaison officers in impacted areas on an as- needed basis, in
              conjunction with SBCC general staff and MAG-P, OPA, FEMA, CBP, ICE, and others as
              appropriate.
           d. Provide strategic advice and input to DHS and Component leadership regarding potential
              messaging and outreach strategies for the purposes of engaging state, local, tribal, and
              territorial elected and appointed officials.
        15) Management Directorate (MGMT) [Supporting]
           a. In coordination with the SBCC general staff and MAG-P, establish pre-scripted support
              agreements, provide requested support, resources, and staffing to assist the general staff
              with coordinating the USG efforts to prevent and respond to irregular migration (see
              Annex A Tab A and B for SBCC general staff and MAG-P requirements).
           b. Assist the Secretary, SCO/SRO, general staff and MAG-with urging Congress to provide
              supplemental funding for SWB contingency operations and with seeking the
              establishment of a general non-year fund for domestic contingencies.
           c. Coordinate technology and data, procurement, budget, facilities, and other support via the
              SCO/SRO, general staff, and MAG-P with Component and Interagency counterparts.
           d. SWB Technology Integration Program led by OCIO to work with the SCO/SRO, general
              staff, MAG-P, CBP EOC, and OBIM to develop and implement cross-Component, Multi-
              Agency biometric and biographic technology enhancement capabilities to support and
                                         Page 34 of 115
                                  FOR OFFICIAL USE ONLY
                              Pre-decisional internal working draft


                                                                                              AZT42AR0000986
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 486 of 566 PageID #:
                                           2894
                     Unclassified // FOUO // Law Enforcement Sensitive

                 increase efficiency of migrant interviews and processing.
        16) Office of Public Affairs (OPA) [Supporting].
            a. In coordination with the SBCC general staff and MAG-P, establish pre-scripted support
               agreements, provide requested support, resources, and staffing to assist the general staff
               with coordinating the USG efforts to prevent and respond to irregular migration (see
               Annex A Tab A and B for SBCC general staff and MAG-P requirements).
            b. Coordinate public announcements and press releases about UC shelters and Family
               Residential Centers in conjunction with the White House Office of Communications, the
               National Security Council Press Office, HHS, DHS components, and other departments
               as appropriate.
            c. Establish a Joint Information Center (JIC) within the SBCC general staff, and MAG-P to
               support the prevention and response to irregular migration and its root causes.
            d. Utilize established Federal protocols to coordinate communications such as the National
               Incident Communications Conference Line (NICCL), and State Incident
               Communications Conference Line (SICCL).
            e. Work with the SCO/SRO to coordinate internal messaging and help disseminate key
               policy, procedural and operational information to the Department’s employees.
            f.   Anticipate needs and prepare for augmenting Public Affairs and Intergovernmental
                 Affairs staff on the SBCC general staff, and MAG-P and CBP Joint operational units
                 located in impacted border regions.
            g. Streamline the release of statistical data regarding a surge.
            h. Increase the amount and timeliness of information being released in Spanish both
               domestically and internationally and ensure consistent messaging.
            i.   Coordinate the engagement with relevant migrant communities within the United States
                 with DHS CRCL, DOJ, DOS, and other agencies.
            j.   Develop a communication and outreach package in coordination with HHS and others to
                 build stakeholder and community buy-in at sites chosen to house undocumented
                 migrants; deploy outreach efforts and notification process.


        17) Office of Operations Coordination (OPS) [Supporting].
            a. In coordination with the SBCC general staff and MAG-P, establish pre-scripted support
               agreements, provide requested support, resources, and staffing to assist the general staff
               with coordinating the USG efforts to prevent and respond to irregular migration (see
               Annex A Tab A and B for general staff and MAG-P requirements).
            b. The National Operations Center (NOC) will maintain migration surge situational
               awareness, provide a common operating picture, conduct information fusion and
               dissemination, and facilitate communications between the CBP EOC and SCO/SRO,
               general staff and MAG-P in support irregular migration missions as directed.
            c. Support SCO/SRO, general staff, and MAG-P and EOC reporting requirements utilizing
               DHS OPS NOC existing coordination structures, including providing an irregular
               migration focused Crisis Action Team as requested (see Annex A Tab A and B, and
               Annex R for SCO/SRO, general staff, and MAG-P requirements).
                                            Page 35 of 115
                                    FOR OFFICIAL USE ONLY
                                Pre decisional internal working draft


                                                                                               AZT42AR0000987
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 487 of 566 PageID #:
                                           2895
                     Unclassified // FOUO // Law Enforcement Sensitive

            d. Coordinate, via the NOC, Office of the Secretary interagency teleconferences at the
               direction of the DHS Chief of Staff and SBCC general staff, Chief of Staff.
            e. Maintain irregular migration as an event on the Homeland Security Information Network
               Common Operating Picture as directed by the Office of the Secretary.
            f.   Support the Secretary, SCO/SRO, and other DHS Leadership with situational awareness
                 and information sharing regarding irregular migration prevention actions and response
                 activities as required.
        18) Office for Civil Rights and Civil Liberties (CRCL) [Supporting].
            a. In coordination with the SBCC general staff and MAG-P, establish pre-scripted support
               agreements, provide requested support, resources, and staffing to assist the general staff
               with coordinating the USG efforts to prevent and respond to irregular migration (see
               Annex A Tab A and B for general staff and MAG-P requirements).
            b. Advise and assist in coordinating the application of domestic immigration policy in a way
               that recognizes and respects the civil rights and civil liberties of all persons affected by
               DHS activities, including the rights of migrants with disabilities and limited English
               proficiency, as well as protecting against discrimination based on race, gender, and
               orientation status.
            c. Provide support and CRCL expertise in planning, setting standards for and oversight of
               DHS facilities that house individuals in DHS custody.
            d. Provide civil rights and civil liberties expertise and advice to Components before any
               new measures are taken to delegate immigration authority to state or local law
               enforcement.
            e. Facilitate meetings between DHS (and its contractors) and Non-Governmental
               Organizations (NGOs), contractors and pro bono providers as needed to field and address
               concerns related to care and custody of UC and Family Units.
            f.   Review and investigate allegations of civil rights and civil liberties violations.
            g. Provide advice on applicable decisions, policies, and guidance, and ensure compliance
               with constitutional, legal, regulatory, and policy requirements.
     E. Department Objectives.
        1) Main Objective: In conjunction with international and homeland security enterprise mission
           partners, meet the immediate needs of stemming irregular migration and limiting disruptions
           to legitimate trade and travel while respecting human rights by creating capacity to ensure the
           integrity of the SWB.
             a. Transfer custody of UC from DHS to HHS within 72 hours of being identified as an UC
                unless exceptional circumstances exist as required by the TVPRA. Measurement: Time
                UC are held in DHS custody unless exceptional circumstances exist.
             b. Ensure all detainees in DHS custody are treated in accordance with legal settlement
                agreements, law, and policy. Measurement: Comparison of available residential and
                holding facility amenities compared to requirements prescribed in legal settlement
                agreements (e.g., Orantes and/or Flores), law, and policy.
             c. Dissuade migration across the U.S. SWB by undocumented migrants. Measurement:
                Reduced number of migrants departing their home countries or countries of residence, as

                                               Page 36 of 115
                                    FOR OFFICIAL USE ONLY
                                Pre decisional internal working draft


                                                                                                      AZT42AR0000988
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 488 of 566 PageID #:
                                           2896
                     Unclassified // FOUO // Law Enforcement Sensitive

                   compared to either previous surges (for predictable yearly surge incidents) or as
                   compared to numbers within an existing surge (trend lines, etc.).
              d. Ensure increases of CBP temporary holding capacity to accept custody of high volumes
                 of Family Units and Single Adults in a humane manner. Measurement: Facility capacity
                 available meets anticipated increases in irregular migration encounters.
              e. Ensure transportation does not create a backlog in the overall movement of migrants
                 from CBP holding facilities to appropriate facilities, leveraging existing CBP contracts.
                 Measurement: Transportation capacity available compared to transportation
                 requirements.
              f.   Ensure the governments of transit countries are supporting operations, to the best of
                   their abilities, to stop, detain, and/or return migrants crossing their borders with the
                   intent of reaching the United States. Measurement: Increased operations to stop UC,
                   Family Units and Single Adults from departing their countries of residence.
              g. Ensure capacity to provide language services (translation and interpretation), including
                 for communications with speakers of indigenous languages. Measurement: Language
                 services available compared to established need, and average wait time for language
                 services to be made available.
              h. Ensure sufficient health and medical capabilities for DHS and the local communities
                 impacted by a migration surge. Measurement: Ratio of resolved/unresolved health and
                 medical screening requests for assistance submitted by DHS to external partners during
                 each phase of a migration surge.
     D. Critical Information Requirements (CIR).
          1) Reports of increased migration towards the SWB (e.g., location, demographics, size, etc.)
             above steady state amounts.
          2) Increased interdiction of migrants at the SWB above steady state amounts.
          3) UC in CBP custody more than 72 hours when no exceptional circumstances apply.
          4) Holding capacity has been exceeded at multiple stations by more than 75%.
          5) Maximum capacity has been surpassed for long-term DHS family unit and adult holding
             capacity to meet surge requirements.
          6) CBP transportation capabilities to move migrants’ front point of encounter to processing
             areas has been exceeded.
          7) Changes to border security policies in or related to Mexico or CENTAM that have the
             potential to increase migration to the United States.
          8) Reports of emerging infectious diseases in source nations.
          9) Reports of emerging infectious diseases in CBP holding centers or HHS shelters.
  4. ADMINISTRATION, RESOURCES, AND FUNDING.
     A. Administration. DHS will coordinate steady-state administrative procedures regarding the
        irregular migration unless an escalation in administrative posture indicates otherwise.
     B. Resources. The SCO/SRO, general staff and MAG-P will coordinate strategic resource allocation
        and prioritization for operational needs identified by the UCG (via the EOC) for housing, care,
        and transportation of migrants in accordance with current settlements, law, policy, and standards.
                                                Page 37 of 115
                                     FOR OFFICIAL USE ONLY
                                 Pre-decisional internal working draft


                                                                                                    AZT42AR0000989
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 489 of 566 PageID #:
                                           2897
                     Unclassified // FOUO // Law Enforcement Sensitive

         1) Concept of Logistics Support. The EOC and UCG will identify needed logistics support to
            meet the requirements of preventing and responding to irregular migration.
         2) The SCO/SRO, general staff and MAG-P will develop pre-scripted support agreements to
            meet the requirements identified by the UCG (via the EOC) with regard to personnel,
            equipment, and capabilities required to support apprehension, processing and holding during
            normal operations and all subsequent phases. All related logistical support will comply with
            current policies, procedures, and guidelines of supporting agencies.
         3) Logistics Management. Supporting Components, Departments and Agencies will use their
            existing data management systems for tracking logistical requirements/support during all
            phases of this Plan.
         4) Interagency Logistics Reporting. Supporting Departments and Agencies will report their
            strategic-level logistic capabilities (see Annex A, pre-scripted support agreements) provided
            to facilitate irregular migration prevention and response efforts directly to the SCO/SRO,
            general staff and MAG-P, and all Operational-level support provided directly to the supported
            Component to the EOC throughout all phases of this Plan.
         5) Departmental Logistics Reporting. Supporting Components will report their logistical
            requirements and support provided to irregular migration prevention and response efforts of
            the supported Component to the SCO/SRO, general staff, and MAG-P via the EOC
            throughout all phases of this Plan.
         6) Personal Protective Equipment logistics management for emerging infectious diseases,
            including COVID-19, will be conducted in compliance with CDC and OMB guidance and the
            DHS Pandemic and Emerging Infectious Disease Workforce Protection Plan (PEIDWPP),
            and PEIDWPP-directed Component plans.
     C. Funding. Initial response activities will be funded by participating agencies’ existing budgets and
        the Economy Act. During on-going phases, DHS will champion and coordinate requests for
        emergency supplemental funding from Congress based on mission requirements necessary to
        execute this Plan. Funds not allocated for border response operations cannot be used to fund
        prevention and response activities.
  5. OVERSIGHT, COORDINATING INSTRUCTIONS, AND COMMUNICATIONS.
     A. Oversight.
         1) General: DHS, via the designation of an SCO/SRO, general staff, and MAG-P, in
            collaboration with homeland enterprise partners, will lead, coordinate, and synchronize all
            Federal Communications, messaging, and release of information regarding irregular
            migration prevention and response. External partners, including other federal partners, will
            provide support coordinated through the SCO/SRO, general staff, and MAG-P, as requested,
            to assist with related preparedness and response activities.
             a. The MAG-P is Chaired by the SCO/SRO and consists of senior Department and Agency
                administrators, executives, and/or their designees who can authoritatively speak on behalf
                of their department or agency and is supported at the action-officer level by the general
                staff. The MAG-P provides the SCO/SRO a way to organize policy-level officials to
                enhance unity of effort at the senior level to support the operators in the field.
             b. The general staff and MAG-P operate under the leadership of the SCO/SRO and are the
                senior part of the off-site incident management structure of NIMS and in this case are
                utilized to provide strategic-level coordination. The general staff and MAG-P consist of
                                              Page 38 of 115
                                    FOR OFFICIAL USE ONLY
                                Pre-decisional internal working draft


                                                                                                AZT42AR0000990
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 490 of 566 PageID #:
                                    2898


                 representatives from stakeholder agencies, departments, and organizations.
          2) Department-level Oversight:
             a. Strategic Oversight will be provided by the Secretary and Deputy Secretary. These
                efforts will be supported by the MAG-P and established USG and DHS leadership
                forums (via Principals and Deputies Committees etc.).
             b. Operational Oversight will be provided by the DHS SWB SCO/SRO in coordination
                with Component heads (via DHS Senior Leadership Group, Deputies Management
                Action Group, Counter Threat Advisory Board, etc.).
             c. These efforts will be supported the MAG-P, general staff, EOC, and existing Component
                and interagency coordination mechanisms and staffs (See Annex A for Specific
                information on the SCO/SRO, general staff, and MAG-P, EOC, and UCG).
     B. Coordinating Instructions.
         1) Secretary approval and direction results in immediate implementation of the Plan.
         2) The Interagency process outlined in NSM-2 provides a forum for policy coordination efforts
            with external partners, which will continue during surge events.
         3) Reporting requirements will follow the established Department protocols unless otherwise
            directed.
     C. Communications.
         1) DHS, as appropriate, will lead and coordinate all Federal communication, messaging, and
            release of information across the federal government. Within DHS, the DHS Secretary’s
            office will provide guidance.
         2) When established the JIC within the SCO/SRO, general staff and MAG-P will coordinate
            strategic communications for mass irregular migration activities and coordination.
         3) Communications external to DHS will be managed through the National Joint Information
            Center and the National, State, and Private Sector Incident Communications Conference
            Lines, as appropriate.
  ANNEXES:
  Annex A: DHS SWB Coordination Architecture
  Annex C: DHS SWB Operations
  Annex E: Executive Order 14010 Strategic Requirements
  Annex G: Glossary
  Annex I: DHS SWB International Security Cooperation Architecture
  Annex M: Medical, DHS SWB Mass Irregular Migration Contingency Plan
  Annex R: DHS SWB Reporting
  Annex X: DHS SWB Authorities and References
  Annex Z: Deputy Secretary Signed Plan Approval Letter




                                             Page 39 of 115
                                   FOR OFFICIAL USE ONLY
                               Pre decisional internal working draft


                                                                                                AZT42AR0000991
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 491 of 566 PageID #:
                                           2899
                     Unclassified // FOUO // Law Enforcement Sensitive



  Annex A: DHS SWB Coordination Architecture
  1. Purpose. The purpose of this annex is to describe the Plan coordination, communication, and
     command (C3) architecture, and relationships to establish a single, comprehensive approach to
     prevent, prepare for, respond to, and recover from mass irregular migration incidents. This annex
     further assigns responsibilities for the establishment and operation of the strategic-level SCO/SRO,
     general staff and MAG-P, and interoperability with the CBP Emergency Operations Center (EOC) for
     operational-level regional and international coordination.
  2. References. See Annex X.
  3. Execution.
       a. Concept of the Operation. See Base Plan and Annex A: Tabs A and B.
       b. General.
             To ensure the requirements of EO 14010 on Creating a Comprehensive Regional Framework to
             Address the Causes of Migration, to Manage Migration throughout North and Central America,
             and to Provide Safe and Orderly Processing of Asylum Seekers as the United States Border are
             met, the Department will coordinate the overall federal effort to, to encourage participation by
             select external Departments and Agencies, State, Local and International Partners, may elect to
             seek a formal designation or memorandum from the White House to memorialize this
             responsibility.
             In accordance with the Plan, DHS will utilize the National Incident Management System –
             Incident Command System (NIMS-ICS) multi-agency coordination model modified to support
             HSPD-5 15 and to meet the requirements of addressing the root causes of migration. The NIMS
             structure will improve operational coordination among the diverse participating organizations, via
             regionally and internationally organized coordination capabilities across the entirety of the SWB-
             IMZ. To manage this coordination structure the DHS Secretary, in the HSPD-5 interagency
             coordination role, will designate an SCO/SRO to lead the Department’s strategic coordination
             efforts in support of USG efforts to prevent and respond to irregular migration throughout the
             SWB-IMZ. The SCO/SRO will be supported by a general staff and MAG-P. These organizations
             will assist the SCO/SRO to facilitate a holistic and humane ‘Whole-of-Western Hemisphere’
             approach to preventing and responding to irregular migration contingencies. The SCO/SRO,
             general staff, and MAG-P, CBP SWAG/EOC and regional UCG will work together to support
             strategic and operational coordination of Field Offices, Sectors, Regions, State, Local and
             International efforts on up to the Headquarters and White House levels to identify, align, and
             prioritize the application of capabilities to meet irregular migration contingency coordination
             requirements.




  15
     Homeland Security Presidential Directive-5 (HSPD-5). Management of Domestic Incidents. HSPD-5 ensures that all levels of government
  across the Nation have the capability to work efficiently and effectively together, using a national approach to domestic incident management.
                                                                Page 40 of 115
                                                 FOR OFFICIAL USE ONLY
                                             Pre-decisional internal working draft


                                                                                                                                    AZT42AR0000992
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 492 of 566 PageID #:
                                    2900




                                                                      AZT42AR0000993
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 493 of 566 PageID #:
                                            2901
                    Unclassified // FOUO // Law Enforcement Sensitive




LES


                                   Page 42 of 115
                           FOR OFFICIAL USE ONLY
                       Pre-decisional internal working draft


                                                                      AZT42AR0000994
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 494 of 566 PageID #:
                                    2902




                                                                      AZT42AR0000995
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 495 of 566 PageID #:
                                            2903
                    Unclassified // FOUO // Law Enforcement Sensitive




LES


                           FOR OFFICIAL USE ONLY
                       Pre decisional internal working draft


                                                                      AZT42AR0000996
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 496 of 566 PageID #:
                                            2904
                    Unclassified // FOUO // Law Enforcement Sensitive




LES


                                   Page 45 of 115
                           FOR OFFICIAL USE ONLY
                       Pre decisional internal working draft


                                                                      AZT42AR0000997
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 497 of 566 PageID #:
                                            2905
                    Unclassified // FOUO // Law Enforcement Sensitive




LES


                                   Page 46 of 115
                           FOR OFFICIAL USE ONLY
                       Pre-decisional internal working draft


                                                                      AZT42AR0000998
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 498 of 566 PageID #:
                                            2906
                    Unclassified // FOUO // Law Enforcement Sensitive




LES


                                   Page 47 of 115
                           FOR OFFICIAL USE ONLY
                       Pre decisional internal working draft


                                                                      AZT42AR0000999
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 499 of 566 PageID #:
                                    2907




    LES


                                   Page 48 of 115
                           FOR OFFICIAL USE ONLY
                       Pre-decisional internal working draft


                                                                      AZT42AR0001000
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 500 of 566 PageID #:
                                            2908
                    Unclassified // FOUO // Law Enforcement Sensitive




   LES


                                   Page 49 of 115
                           FOR OFFICIAL USE ONLY
                       Pre-decisional internal working draft


                                                                      AZT42AR0001001
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 501 of 566 PageID #:
                                            2909
                    Unclassified // FOUO // Law Enforcement Sensitive




   LES


                                   Page 50 of 115
                           FOR OFFICIAL USE ONLY
                       Pre-decisional internal working draft


                                                                      AZT42AR0001002
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 502 of 566 PageID #:
                                            2910
                    Unclassified // FOUO // Law Enforcement Sensitive

Tab A, to Annex A: General Staff
Reference: Annex A: DHS SWB Coordination Architecture
General staff General Staff Characteristics and Organization.
1. The general staff will form around a core cadre of DHS Headquarters and Component administrative and
   coordination personnel who enable the start-up needs by providing an on-call nucleus for coordination at
   the outset of a contingency. Once the SCO/SRO is designated, they will seek appropriate Department and
   Agency staffing to manage incident-related decision-support information such as tracking critical
   resources, the situation status, investigative information, and providing public information to the news
   media and public.
2. The general staff section describes the general staff structure and explains how it supports the different
   levels of incident management.
3. General Staff for a detailed Table of Organization for the general staff see TAB B of this Annex).
    The SCO/SRO by the authority of the Secretary requests personnel to make up the general staff as needed
    to support the coordination functions. The general staff typically includes a Chief of Staff (COS), and a
    Policy Section consisting of the Public Information Officer (PIO), a Safety Officer, and a Liaison Officer
    who report directly to the SCO/SRO and have one to two assistants as necessary. The SCO/SRO may
    request and designate additional advisors to the Policy Section as needed. Additionally, the SCO/SRO
    will establish Strategic Operations Coordination, Planning, Finance/Administration, and Intelligence and
    Investigations Sections. These sections are responsible for the functional aspects of the general staff. The
    SCO/SRO activates these sections and their chiefs as needed. The lead of these functions’ defaults to the
    SCO/SRO and COS until a section chief is assigned. The section will have a deputy and two to three staff
    as necessary. The general staff is discussed more fully below.
    a) Chief of Staff. The COS is the point person for all the individuals who work on behalf of the
       SCO/SRO within the general staff and is responsible for the internal coordination, development,
       organization, and training of the general staff. The COS:
         1. Manages the requisitions for new staff from Departments and Agencies and oversees the needs
            of the various general staff sections.
         2. Attends meetings on behalf of the SCO/SRO and reports back with relevant information.
         3. Draft’s correspondence, speeches, and official statements.
         4. Provides insight and feedback to the SCO/SRO and general staff to assist with the decision-
            making processes.
         5. Acts as a sounding board to help with brainstorming relevant subject matter.
         6. Schedules and prioritizes appointments so the SCO/SRO can make the most of their time.
         7. Oversees staff and handles problems before reporting them up the chain of command.
         8. Above all else, the most important job function is time management.
    b) Policy Section, Public Information Officer. The PIO advises the SCO/SRO on matters relating to the
       media and public engagement. The PIO organizes and leads the Joint Information Center (JIC) and
       interfaces with the public, media, and/or with other agencies with incident-related information needs.
       The PIO gathers, verifies, coordinates, and disseminates accessible, meaningful, and timely
       information on the incident for both internal and external audiences. The PIO also monitors the media
       and other sources of public information to collect relevant information and transmits this information
       to the appropriate components of the incident management organization.
                                               Page 51 of 115
                                      FOR OFFICIAL USE ONLY
                                  Pre-decisional internal working draft


                                                                                                     AZT42AR0001003
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 503 of 566 PageID #:
                                            2911
                    Unclassified // FOUO // Law Enforcement Sensitive

  c) Policy Section, Safety Officer. The Safety Officer monitors incident strategic level operations and
     advises the SCO/SRO on matters relating to the health and safety of incident personnel. Ultimate
     responsibility for the safe conduct of incident management rests with the SCO/SRO and Unified
     Commands at all levels. The Safety Officer is responsible to the SCO/SRO for establishing the
     systems and procedures necessary to coordinate resources to mitigate hazardous environments.
  d) Policy Section, Liaison Officer. The Liaison Officer coordinates the activities and administration of
     all Liaisons provided to the general staff. Through the Liaison Officer, the Liaisons (LNO) provide
     input on their department, agency, organization, or jurisdiction’s policies, resource availability, and
     other incident-related matters. The Liaison Officers are the general staff points of contact and
     representatives of governmental agencies, jurisdictions, NGO, and private sector organizations that
     are not specifically included in the general staff.
  e) Policy Section, Protection Advisor. The Protection Advisor advises the SCO/SRO on matters relating
     to civil rights and civil liberties and other protections under federal law and policy. The Protection
     Advisor coordinates with the DHS Office for Civil Rights and Civil Liberties and other federal
     personnel as needed to address issues.
  f) Additional Staff Positions. Additional Staff positions may be necessary, depending on the incident
     and specific requirements established by the SCO/SRO. For instance, the SCO/SRO may request
     technical specialists to serve as advisors from departments, agencies, organizations, or jurisdictions
     with specialized knowledge need to prevent and respond to irregular migration.
  g) Strategic Operations Coordination Section. Is comprised of the Section Chief a Deputy for
     Operations and a Deputy for Technology and Data and each with two to three subject matter expert
     staff. The SCO/SRO selects the Operations Section Chief based on irregular migration priorities. The
     Operations Section personnel plan and perform actions to achieve the incident objectives established
     by the SCO/SRO. Objectives typically focus on saving lives, protecting human rights, reducing the
     immediate hazard, protecting property and the environment, establishing situational control, and
     restoring normal operations.
      Key functions of the Operations Section personnel include the following:
       1. Directing the management of general staff migration strategy, policy, resource prioritization and
          allocation, and enabling decision making objectives and LOE on the SCO/SROs behalf.
       2. Developing and implementing strategies and policies to achieve incident objectives.
       3. Coordinating contingency Information Technology, Data and Biometric/Bio-graphic data
          management.
       4. Expanding leadership visibility through integrated dashboards and operational efficiencies
          through digitization and automation efforts.
       5. Organizing the Operations Section to best meet the incident’s needs, maintain a manageable
          span of control, optimize the use of resources.
       6. Supporting contingency priority development for each operational period.
  h) Strategic Planning Section. Is comprised of the Section Chief a Deputy and two to three subject
     matter expert staff. The Planning Section personnel provide situational awareness regarding migration
     strategy, policy, and resource prioritization and allocation. The staff within this section prepare status
     reports, display situation information, maintain the status of assigned resources, work with the
     operations section to facilitate the incident action planning process, and prepare updates to the Plan
     based on input from other sections and guidance from the SCO/SRO.

                                              Page 52 of 115
                                    FOR OFFICIAL USE ONLY
                                Pre-decisional internal working draft


                                                                                                   AZT42AR0001004
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 504 of 566 PageID #:
                                    2912




                                                                      AZT42AR0001005
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 505 of 566 PageID #:
                                            2913
                    Unclassified // FOUO // Law Enforcement Sensitive




LES
LES
                                   Page 54 of 115
                           FOR OFFICIAL USE ONLY
                       Pre decisional internal working draft


                                                                      AZT42AR0001006
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 506 of 566 PageID #:
                                    2914




                                                                      AZT42AR0001007
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 507 of 566 PageID #:
                                            2915
                    Unclassified // FOUO // Law Enforcement Sensitive

7. Whole of Government Contingency Planning
   a) Even in a large-scale contingency such as mass irregular migration, coordinated planning guides
      management of resourcing activities.
   b) Planning represents the concise, coherent method of capturing and communicating strategic
      objectives and supporting agreements to meet the needs of operational activities.
   c) The general staff will conduct iterative planning and produce branches and sequels to the Plan to
      capture changes in the environment, policy, and strategy during specified periods and as directed the
      SCO/SRO.
8. Comprehensive Strategy, Policy, Resource and Capability Management
   a) The SCO/SRO and general staff will conduct strategic resource and capability management including
      but not limited to allocation and prioritization of personnel, equipment, teams, supplies, and facilities
      available or potentially available by support agreement.
   b) Maintaining an accurate and up-to-date inventory of strategic resources is an essential component of
      coordination and will require significant reporting from the field to the general staff via the NOC.
   c) Resources should deploy only when the SCO/SRO and supported organization determine they are
      necessary, at which time the general staff coordinates OFA through established request for assistance,
      request for support, and PSSA.
9. Information Management (Reporting, Requests for Assistance, and Information)
   a) The general staff Planning Section coordinates with the NOC and Departments and Agencies to
      manage the robust operational reporting requirements necessary to facilitate situational awareness
      with regards to critical resource and capability allocation and requests.
   b) The focus of information management is to ensure that all resource and capability allocation and
      prioritization is based in operational need.
10. Intelligence Management




LES
                                               Page 56 of 115
                                     FOR OFFICIAL USE ONLY
                                 Pre-decisional internal working draft


                                                                                                    AZT42AR0001008
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 508 of 566 PageID #:
                                    2916




                                                                      AZT42AR0001009
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 509 of 566 PageID #:
                                    2917




                                                                      AZT42AR0001010
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 510 of 566 PageID #:
                                    2918




                                                                      AZT42AR0001011
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 511 of 566 PageID #:
                                    2919




                                                                      AZT42AR0001012
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 512 of 566 PageID #:
                                    2920




                                                                      AZT42AR0001013
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 513 of 566 PageID #:
                                    2921




                                                                      AZT42AR0001014
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 514 of 566 PageID #:
                                    2922




                                                                      AZT42AR0001015
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 515 of 566 PageID #:
                                    2923




                                                                      AZT42AR0001016
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 516 of 566 PageID #:
                                    2924




                                                                      AZT42AR0001017
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 517 of 566 PageID #:
                                    2925




                                                                      AZT42AR0001018
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 518 of 566 PageID #:
                                            2926
                    Unclassified // FOUO // Law Enforcement Sensitive

General staff and MAG-P capabilities and requirements and stand-up considerations.




LES


                                          Page 67 of 115
                                  FOR OFFICIAL USE ONLY
                              Pre decisional internal working draft


                                                                                     AZT42AR0001019
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 519 of 566 PageID #:
                                            2927
                    Unclassified // FOUO // Law Enforcement Sensitive




LES


                                   Page 68 of 115
                           FOR OFFICIAL USE ONLY
                       Pre-decisional internal working draft


                                                                      AZT42AR0001020
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 520 of 566 PageID #:
                                            2928
                    Unclassified // FOUO // Law Enforcement Sensitive




LES


                                   Page 69 of 115
                           FOR OFFICIAL USE ONLY
                       Pre decisional internal working draft


                                                                      AZT42AR0001021
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 521 of 566 PageID #:
                                            2929
                    Unclassified // FOUO // Law Enforcement Sensitive




LES


                                   Page 70 of 115
                           FOR OFFICIAL USE ONLY
                       Pre decisional internal working draft


                                                                      AZT42AR0001022
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 522 of 566 PageID #:
                                            2930
                    Unclassified // FOUO // Law Enforcement Sensitive



LES
SBCC Management
This section discusses functions and considerations for supporting and sustaining general staff operations.
1. Standard Operating Procedures
As part of the planning process, leaders should develop and distribute standard operating procedures to all
designated staff and MAG-P committee members. Procedures should describe the layout and functions, the
duties of major sections and branches and individuals and the use of dashboards, displays, message forms and
other operational coordination forms.
During a developing irregular migration response activation, the standard operating procedures clearly outline
simple processes for opening the general staff, including the following elements:
    o   Authority
    o   Senior leaders
    o   Conditions for activation
    o   Notice events
    o   Notifications
    o   Setup
    o   Deactivation
    o   Annual review
    o   Testing and exercising activation procedures
1.1. Authority
Standard operating procedures should list at least three officials—by title, not name—with the authority to
activate the facility and call-in general staff.
1.2. Senior Leaders
Senior Leader Toolkit includes the Senior Leader Quick Reference Guide. This guide contains:
    o   Overarching priorities that apply to every incident
    o   Essential responsibilities of senior executives
    o   What to expect
    o   Public messaging examples
Intentionally broad, the guide applies to diverse organizations across the nation. The reference guide should
include organizational points of contact (POC) and relevant operational details, such as how often the general
staff will provide situation reports. Incident managers should review the customized reference guide with their
leadership before an incident occurs. To view an example tool kit, see the FEMA Senior Leader Toolkit, visit
https://www.fema.gov/emergency-managers/nims/components/senior-leader-toolkit.
1.3. Conditions for Activation



                                                Page 71 of 115
                                        FOR OFFICIAL USE ONLY
                                    Pre decisional internal working draft


                                                                                                    AZT42AR0001023
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 523 of 566 PageID #:
                                    2931




                                                                      AZT42AR0001024
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 524 of 566 PageID #:
                                            2932
                    Unclassified // FOUO // La Enforcement Sensiti e

         Disseminate strategic-level plans
         Facilitate the ongoing planning process
Planning is one of the key components of the preparedness cycle.
1.2. Incident Action Planning
The incident action planning process and IAPs are central to managing incidents. IAPs help synchronize
operations and ensure that operations support incident objectives. Using a disciplined system of planning
phases and meetings fosters collaboration/partnerships and keeps incident operations focused. The incident
action planning process has the following phases:
         Understand the situation
         Establish incident objectives
         Develop the plan
         Prepare and disseminate the plan
         Execute, evaluate, and revise the plan
2. Exercises
Conducting exercises is an integral part of the preparedness cycle. Exercises provide leaders with an
opportunity to shape planning, assess/validate capabilities and identify strengths and areas for improvement.
The Homeland Security Exercise and Evaluation Program (HSEEP) provides a set of guiding principles for
exercise and evaluation programs, as well as a common approach to exercise program management,
design/development, conduct, evaluation, and improvement planning. This section covers exercise concepts.
2.1. HSEEP Principles
HSEEP is the cornerstone of the nation’s guidance for exercise design, development, and evaluation. HSEEP
is flexible, scalable, adaptable, and designed for use by stakeholders across the whole community. Nationwide
use of HSEEP supports a consistent approach to exercises and measuring progress toward building,
sustaining, and delivering core capabilities. The fundamental principles of HSEEP, detailed below, align, and
support the NIMS guiding principles:
         Driven by senior leader guidance
         Informed by risk
         Capability based and objective driven
         Follows a progressive exercise planning approach
         Encourages whole community integration
         Uses a common methodology
Exercise Types
The type of exercise selected will depend on the specific objectives, goals, resources and needs of the
jurisdiction planning the exercise. HSEEP has two broad categories of exercises—discussion-based and
operations-based—which together encompass seven exercise types:
Discussion-based exercises:
         Seminars: familiarize players with current plans, policies, agreements, and procedures


                                               Page 73 of 115
                                     FOR OFFICIAL USE ONLY
                                 Pre decisional internal working draft


                                                                                                   AZT42AR0001025
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 525 of 566 PageID #:
                                            2933
                    Unclassified // FOUO // Law Enforcement Sensitive

         Workshops: achieve a specific goal or build a product (for example, standard operating procedures,
        policies, or plans)
         Tabletop exercises: help participants understand and assess plans, policies, procedures, and
        concepts
         Games: explore decision-making processes and examine the consequences of decisions
Operations-based exercises (the higher level of the exercise program):
         Drills: test a single operation or function
         Functional exercises: test and evaluate capabilities, functions, plans and staffs in real time;
        movement of resources is usually simulated
         Full-scale exercises: typically, the most complex and resource intensive; implement and analyze
        plans, policies, procedures, and cooperative agreements; usually include real-time movement of
        resources
Facility drills are training activities aimed at perfecting facility functions and skills. The drills help staff
members become proficient in their incident functions through repetitive practice. They are usually short in
duration. Trainers can either announce them ahead of time or execute them as a surprise to test capability and
proficiency.




                                                 Page 74 of 115
                                      FOR OFFICIAL USE ONLY
                                  Pre decisional internal working draft


                                                                                                      AZT42AR0001026
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 526 of 566 PageID #:
                                            2934
                    Unclassified // FOUO // Law Enforcement Sensitive

Annex C: DHS SWB Operations
1. Purpose. The purpose of this annex is to provide information, prescribe procedures, and assign
   responsibilities for operational requirements and reporting associated with the DHS SWB Mass Irregular
   Migration Contingency Plan.
2. References. SEE Annex X
3. Execution.
   a. Concept of the Operation. See Base Plan
   b. DHS SWB Phased Decision and Action Matrix




LES

                                             Page 75 of 115
                                    FOR OFFICIAL USE ONLY
                                Pre-decisional internal working draft


                                                                                               AZT42AR0001027
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 527 of 566 PageID #:
                                            2935
                    Unclassified // FOUO // Law Enforcement Sensitive




LES


                                   Page 76 of 115
                           FOR OFFICIAL USE ONLY
                       Pre-decisional internal working draft


                                                                      AZT42AR0001028
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 528 of 566 PageID #:
                                            2936
                    Unclassified // FOUO // Law Enforcement Sensitive




LES


                                   Page 77 of 115
                           FOR OFFICIAL USE ONLY
                       Pre-decisional internal working draft


                                                                      AZT42AR0001029
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 529 of 566 PageID #:
                                    2937




                                                                      AZT42AR0001030
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 530 of 566 PageID #:
                                            2938
                    Unclassified // FOUO // Law Enforcement Sensitive




LES


                                   Page 79 of 115
                           FOR OFFICIAL USE ONLY
                       Pre decisional internal working draft


                                                                      AZT42AR0001031
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 531 of 566 PageID #:
                                    2939




                                                                      AZT42AR0001032
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 532 of 566 PageID #:
                                    2940




                                                                      AZT42AR0001033
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 533 of 566 PageID #:
                                            2941
                    Unclassified // FOUO // Law Enforcement Sensitive




LES


                                   Page 82 of 115
                           FOR OFFICIAL USE ONLY
                       Pre-decisional internal working draft


                                                                      AZT42AR0001034
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 534 of 566 PageID #:
                                    2942




                                                                      AZT42AR0001035
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 535 of 566 PageID #:
                                    2943




                                                                      AZT42AR0001036
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 536 of 566 PageID #:
                                            2944
                    Unclassified // FOUO // Law Enforcement Sensitive




LES


                                   Page 85 of 115
                           FOR OFFICIAL USE ONLY
                       Pre decisional internal working draft


                                                                      AZT42AR0001037
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 537 of 566 PageID #:
                                            2945
                    Unclassified // FOUO // La Enforcement Sensiti e




LES


                                   Page 86 of 115
                           FOR OFFICIAL USE ONLY
                       Pre-decisional internal working draft


                                                                      AZT42AR0001038
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 538 of 566 PageID #:
                                            2946
                    Unclassified // FOUO // Law Enforcement Sensitive

Annex E: Executive Order 14010 Strategic Requirements
1. Purpose. The purpose of this annex is to provide information on the requirements of Executive order
   14010 which was published in the Federal Register on February 5. Executive Order 14010—Creating a
   Comprehensive Regional Framework to Address the Causes of Migration, To Manage Migration
   Throughout North and Central America, and To Provide Safe and Orderly Processing of Asylum Seekers
   at the United States Border. When designated the SCO/SRO, general staff, and MAG-P will facilitate the
   operationalizing of these strategic requirements.
2. References. SEE Annex X.
    a. Executive Order 14010, Creating a Comprehensive Regional Framework to Address the Causes of
       Migration, To Manage Migration Throughout North and Central America, and To Provide Safe and
       Orderly Processing of Asylum Seekers at the United States Border
    b. CBP SWB Contingency Plan
3. Execution.
    a. Key Concepts:
       1) Combating corruption, strengthening democratic governance, and advancing the rule of law.
       2) Promoting respect for human rights, labor rights, and a free press.
       3) Countering and preventing violence, extortion, and other crimes perpetrated by criminal gangs,
          trafficking networks, and other organized criminal organizations.
       4) Combating sexual, gender-based, and domestic violence.
       5) Addressing economic insecurity and inequality.
       6) Consulting and collaborating with the office of the United States Trade Representative, the
          Secretary of Commerce, and the Secretary of Labor to evaluate compliance.
    b. The Collaborative Migration Management Strategy shall identify and prioritize actions to
       strengthen cooperative efforts to address migration flows, including by expanding and improving
       upon previous efforts to resettle throughout the region those migrants who qualify for humanitarian
       protection. To support the development of the Collaborative Management Strategy, the United States
       Government shall promptly begin consultations with civil society, the private sector, international
       organizations, and governments in the region, including the Government of Mexico. These
       consultations should address:
       1) The continued development of asylum systems and resettlement capacities of receiving countries
          in the region, including through the provision of funding, training, and other support.
       2) The development of internal relocation and integration programs for internally displaced persons,
          as well as return and reintegration programs for returnees in relevant countries of the region.
       3) Humanitarian assistance, including through expansion of shelter networks, to address the
          immediate needs of individuals who have fled their homes to seek protection elsewhere in the
          region.
4. Requirements. (These actions require verification of completion)
   A. The Secretary of Homeland Security shall:
       1) Consider taking all appropriate actions to reverse the 2017 decision rescinding the Central
          American Minors (CAM) parole policy and terminating the CAM Parole Program, see

                                              Page 87 of 115
                                    FOR OFFICIAL USE ONLY
                                Pre decisional internal working draft


                                                                                                 AZT42AR0001039
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 539 of 566 PageID #:
                                            2947
                    Unclassified // FOUO // Law Enforcement Sensitive

          "Termination of the Central American Minors Parole Program," 82 Fed. Reg. 38,926 (August 16,
          2017), and consider initiating appropriate actions to reinstitute and improve upon the CAM Parole
          Program.
      2) Consider promoting family unity by exercising the Secretary's discretionary parole authority to
         permit certain nationals of the Northern Triangle who are the beneficiaries of approved family-
         sponsored immigrant visa petitions to join their family members in the United States, on a case-
         by-case basis.
      3) Evaluate and implement measures to enhance access for individuals from the Northern Triangle
         to visa programs, as appropriate and consistent with applicable law.
      4) Review and determine whether to terminate or modify the program known as the Migrant
         Protection Protocols (MPP), including by considering whether to rescind the Memorandum of the
         Secretary of Homeland Security titled "Policy Guidance for Implementation of the Migrant
         Protection Protocols" (January 25, 2019), and any implementing guidance. In coordination with
         the Secretary of State, the Attorney General, and the Director of CDC, the Secretary of Homeland
         Security shall promptly consider a phased strategy for the safe and orderly entry into the United
         States, consistent with public health and safety and capacity constraints, of those individuals who
         have been subjected to MPP for further processing of their asylum claims.
      5) Review and consider whether to modify, revoke, or rescind the designation titled "Designating
         Aliens for Expedited Removal," 84 Fed. Reg. 35,409 (July 23, 2019), regarding the geographic
         scope of expedited removal pursuant to INA section 235(b)(1), 8 U.S.C. 1225(b)(1), consistent
         with applicable law. The review shall consider our legal and humanitarian obligations,
         constitutional principles of due process and other applicable law, enforcement resources, the
         public interest, and any other factors consistent with this order that the Secretary deems
         appropriate. If the Secretary determines that modifying, revoking, or rescinding the designation is
         appropriate, the Secretary shall do so through publication in the Federal Register.
      6) Cease implementing the "Prompt Asylum Case Review" program and the "Humanitarian Asylum
         Review Program" and consider rescinding any orders, rules, regulations, guidelines, or policies
         implementing those programs.
  B. The Secretary of State and the Secretary of Homeland Security shall review mechanisms for
     better identifying and processing individuals from the Northern Triangle who are eligible for refugee
     resettlement to the United States.
      1) Consideration shall be given to increasing access and processing efficiency.
      2) Identify and implement all legally available and appropriate forms of relief to complement the
         protection afforded through the United States Refugee Admissions Program.
      3) The Secretary of State and Secretary of Homeland Security shall submit a report to the President
         with the results of the review.
  C. The Secretary of Homeland Security and the Director of the Centers for Disease Control and
     Prevention (CDC), in coordination with the Secretary of State, shall promptly begin consultation
     and planning with international and non-governmental organizations to develop policies and
     procedures for the safe and orderly processing of asylum claims at United States land borders,
     consistent with public health and safety and capacity constraints.
  D. The Secretary of HHS and the Director of CDC, in consultation with the Secretary of
     Homeland Security, shall promptly review and determine whether termination, rescission, or
     modification of the following actions is necessary and appropriate: "Order Suspending the Right To
                                             Page 88 of 115
                                   FOR OFFICIAL USE ONLY
                               Pre-decisional internal working draft


                                                                                                 AZT42AR0001040
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 540 of 566 PageID #:
                                            2948
                    Unclassified // FOUO // Law Enforcement Sensitive

      Introduce Certain Persons From Countries Where a Quarantinable Communicable Disease Exists," 85
      Fed. Reg. 65,806 (October 13, 2020); and "Control of Communicable Diseases; Foreign Quarantine:
      Suspension of the Right to Introduce and Prohibition of Introduction of Persons into United States
      from Designated Foreign Countries or Places for Public Health Purposes," 85 Fed. Reg. 56,424
      (September 11, 2020) (codified at 42 C.F.R. 71.40).
  E. The Secretary of Homeland Security, in consultation with the Attorney General, the Secretary
     of Health and Human Services (HHS), and the Director of CDC, shall promptly begin taking
     steps to reinstate the safe and orderly reception and processing of arriving asylum seekers, consistent
     with public health and safety and capacity constraints.
  F. The Attorney General and the Secretary of Homeland Security
      1) Review and determine whether to rescind the interim final rule titled "Aliens Subject to a Bar on
         Entry Under Certain Presidential Proclamations; Procedures for Protection Claims," 83 Fed. Reg.
         55,934 (November 9, 2018), and the final rule titled "Asylum Eligibility and Procedural
         Modifications," 85 Fed. Reg. 82,260 (December 17, 2020), as well as any agency memoranda or
         guidance that were issued in reliance on those rules.
      2) Review and determine whether to rescind the interim final rule titled "Implementing Bilateral and
         Multilateral Asylum Cooperative Agreements Under the Immigration and Nationality Act," 84
         Fed. Reg. 63,994 (November 19, 2019), as well as any agency memoranda or guidance issued in
         reliance on that rule. In the interim, the Secretary of State shall promptly consider whether to
         notify the governments of the Northern Triangle that, as efforts to establish a cooperative,
         mutually respectful approach to managing migration across the region begin, the United States
         intends to suspend and terminate the following agreements:
              a) Agreement Between the Government of the United States of America and the
                 Government of the Republic of Guatemala on Cooperation Regarding the Examination of
                 Protection Claims," 84 Fed. Reg. 64,095 (July 26, 2019).
              b) "Agreement Between the Government of the United States of America and the
                 Government of the Republic of El Salvador for Cooperation in the Examination of
                 Protection Claims," 85 Fed. Reg. 83,597 (September 20, 2019).
              c) "Agreement Between the Government of the United States of America and the
                 Government of the Republic of Honduras for Cooperation in the Examination of
                 Protection Claims," 85 Fed. Reg. 25,462 (September 25, 2019).
  G. The Secretary of Homeland Security, with support from the United States Digital Service
     within the Office of Management and Budget, shall promptly begin a review of procedures for
     individuals placed in expedited removal proceedings at the United States border. Within 120 days of
     the date of this order, the Secretary of Homeland Security shall submit a report to the President with
     the results of this review and recommendations for creating a more efficient and orderly process that
     facilitates timely adjudications and adherence to standards of fairness and due process.
  H. The Attorney General and the Secretary of Homeland Security shall: (These actions require
     verification of completion)
      1) By 02 August 2021, conduct a comprehensive examination of current rules, regulations,
         precedential decisions, and internal guidelines governing the adjudication of asylum claims and
         determinations of refugee status to evaluate whether the United States provides protection for
         those fleeing domestic or gang violence in a manner consistent with international standards (DHS
         PLCY must verify completion and impact).

                                             Page 89 of 115
                                   FOR OFFICIAL USE ONLY
                               Pre-decisional internal working draft


                                                                                                  AZT42AR0001041
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 541 of 566 PageID #:
                                            2949
                    Unclassified // FOUO // Law Enforcement Sensitive

     2) By 02 November 2021, promulgate joint regulations, consistent with applicable law, addressing
        the circumstances in which a person should be considered a member of a "particular social
        group," as that term is used in 8 U.S.C. 1101(a)(42)(A), as derived from the 1951 Convention
        relating to the Status of Refugees and its 1967 Protocol (DHS PLCY must verify completion and
        impact).




                                          Page 90 of 115
                                 FOR OFFICIAL USE ONLY
                             Pre decisional internal working draft


                                                                                           AZT42AR0001042
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 542 of 566 PageID #:
                                    2950




                                                                      AZT42AR0001043
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 543 of 566 PageID #:
                                    2951




                                                                      AZT42AR0001044
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 544 of 566 PageID #:
                                    2952




                                                                      AZT42AR0001045
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 545 of 566 PageID #:
                                    2953




                                                                      AZT42AR0001046
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 546 of 566 PageID #:
                                            2954
                    Unclassified // FOUO // Law Enforcement Sensitive

individual may be removed from the United States. If the Immigration Judge reverses the negative
credible fear finding, the individual will be placed in proceedings before an Immigration Judge for a
determination on asylum, withholding of removal or deferral of removal. May change with the Asylum
Officer rule implementation. Once in effect, asylum officers will adjudicate applications for asylum in lieu
of placement in 240 removal proceedings.

Critical Information Requirement (CIR): Information requirements identified by the leader of the
organization as being critical in facilitating timely information management and the decision-making
process that affect successful mission accomplishment.

Deportation/Removal - People subject to a final order of removal, who can be deported include
noncitizens (including lawful permanent residents) with criminal convictions; visa overstays;
refugee/asylum seekers; and those who entered without inspection (for example, by crossing the border
unlawfully). Once removed, a noncitizen faces legal bars for a period that prevent his or her return or
sometimes they are permanently barred.

Executive Office for Immigration Review (EOIR) - The agency within the Department of Justice that
administers all Immigration Courts, including those inside the detention centers, and the BIA. It is a
separate agency from ICE, which is in the Department of Homeland Security. EOIR judges determine
defensive asylum claims and other claims for relief or protection from removal during removal
proceedings.

Family Unit (Family Units) – A non-United States citizen child or children, all under the age of eighteen,
accompanied by their noncitizen adult parent(s) or legal guardian(s).

Flores Settlement Agreement - The Flores Settlement Agreement refers to a nationwide settlement of
litigation that set standards for DHS detention and release of noncitizen children. In 1997, the U.S.
government reached an agreement known as the Flores Settlement Agreement, which arose out of Flores
v. Reno, a 1987 California case. It requires that minors in INS custody must be housed in facilities that
meet certain standards, including state standards for housing and care of dependent children. The
settlement also establishes state licensing authority over detention facilities and defines a “licensed
program” as any program, agency or organization that is licensed by an appropriate state agency to
provide residential, group or foster care services for dependent children.

Homeland Security Enterprise – one DHS, one enterprise, a shared vision, with integrated results-based
operations, the collective efforts, and shared responsibilities to maintain critical homeland security.
Includes federal, state, local, tribal, and territorial governments; non-governmental, private-sector, and
international partners; and individuals, families, and communities. DHS Instruction 252-06-002 -
Department Reporting Requirements Instruction. https://collibra.dhs.gov/domain/ecd9b43f-92cd-4c92-
9530-1c1a43791b0f

ICE Family Residential Centers - ICE oversees a Family Residential Program, which houses non-
criminal residents in a family-friendly, shelter-like setting.

Immigration and Nationality Act - An act of Congress that, along with other immigration laws, treaties,
and conventions of the United States, relates to the immigration, temporary admission, naturalization, and
removal of foreign nationals.



                                              Page 95 of 115
                                    FOR OFFICIAL USE ONLY
                                Pre-decisional internal working draft


                                                                                                   AZT42AR0001047
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 547 of 566 PageID #:
                                            2955
                    Unclassified // FOUO // Law Enforcement Sensitive


Inadmissibility - Not being allowed to lawfully enter the United States or obtain a visa abroad based on
acts or conduct that is listed as an inadmissibility ground in section 212 of the Immigration and
Nationality Act.

Influx - An arrival or entry of large numbers of illegal undocumented migrants that exceeds the capacity
of normal operations.

Irregular Migration – non-seasonal migration occurring due to disease (COVID-19), extreme weather,
severe economic decline, economic inequality, pervasive crime, and corruption, that has diverted critical
resources from healthcare and education, and public wellbeing.

Lawful Permanent Resident - Any person not a citizen of the United States who is living in the U.S.
under legally recognized and lawfully recorded permanent residence as an immigrant. Also known as
“permanent resident alien,” “resident alien permit holder,” and “Green Card holder.”

Notice to Appear (NTA) - Charging documents that DHS issues to non-citizens to allege inadmissibility
or removability and subsequently initiate Section 240 Removal Proceedings with EOIR.

Non-Protected Migrant - Migrant interviewed by USCIS and determined not to merit the protection of
the United States Government. Such undocumented migrants that were interdicted at sea outside the
territory of the U.S. are repatriated to their countries of origin when appropriate and feasible.

Mass Irregular Migration – A migration event, either voluntary or forced, involving the displacement of
large groups of people from one or more geographic area to another. Mass irregular migration is generally
brought on by a desire by the migrants to seek improved quality of life, to escape persecution and
violence, or as the result of a natural disaster. An irregular migration is considered mass when it surpasses
the normal seasonal flow of migration to the receiving region by more than that regions’ capacity to
absorb the influx without disruption. For the United States a mass irregular migration event is one that is
very likely to pose a high risk to the capacity of the Government to secure and manage the borders,
enforce immigration law, prevent terrorism, and ensure resilience.

Mass migration - "Mass migration" is a term of art under EO 13276 that refers to "a migration of
undocumented aliens that is of such magnitude and duration that it poses a threat to the national security of
the United States, as determined by the President."

Medical Screening - A screening performed by a medical or non-medical person looking for obvious
signs of illness or injury and asking about any health concerns. In particular, the screen is intended to
recognize signs or symptoms consistent with the Center for Disease Control definition of communicable
diseases of public health concern significance under 42 C.F.R. § 34.2 and to address medical complaints
identified by the person being screened.

Migrant - A person who leaves his/her country of origin to seek residence in another country. For the
purposes of this Plan, “migrant” refers to Unaccompanied Children, Family Units, and Single Adults when
no distinction between the three types of migrant is required.

Parolee -A non-citizen to whom the Attorney General has granted a temporary stay or release for urgent
humanitarian reasons or significant public benefit purposes and who can be detained at any time.


                                               Page 96 of 115
                                     FOR OFFICIAL USE ONLY
                                 Pre decisional internal working draft


                                                                                                    AZT42AR0001048
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 548 of 566 PageID #:
                                            2956
                    Unclassified // FOUO // Law Enforcement Sensitive


Processing Facility - A temporary location, not a detention facility, established to receive undocumented
migrants from Transfer Points (TP) and Law Enforcement Detachment units (LEDET) and prepare the
undocumented migrants for relocation to detention facilities, such as Contract Detention Facilities (CDF)
or Migrant Transitional Facility (MTF). These processing facilities are charged with responsibilities of
noncitizen file processing, conducting initial screenings identifying special interest noncitizens for further
investigation, and transfer of noncitizens into the custody of detention personnel for relocation.
Ports of Entry - Any location in the United States or its territories that is designated as a point of entry for
noncitizens and United States citizens. Conversely, “between the ports” refers to the land border area
between the official ports of entry is the responsibility of United States Border Patrol (USBP).

Reasonable Fear Interview - An interview conducted by a USCIS asylum officer of an individual
ordered removed under either Section 238(b) or Section 241(a)(5) of the INA who expresses a fear of
return to the country to which he or she has been ordered removed. The asylum officer will determine
whether the individual has a reasonable fear of persecution or torture. Those who are found to have a
reasonable fear of persecution or torture are then given an opportunity to seek withholding of removal or
deferral of removal before an Immigration Judge. Those found not to have a reasonable fear of persecution
or torture may request that an Immigration Judge review the negative reasonable fear determination. If an
individual does not request review by the Immigration Judge or the Immigration Judge upholds the
negative determination, the individual may be removed from the United States. If the Immigration Judge
reverses the negative reasonable fear finding, the individual will be placed in proceedings before an
Immigration Judge for a determination on eligibility for withholding or deferral of removal only.

Refugees - People seeking protection and a safe place to live outside their country of origin who is unable
or unwilling to return because of past persecution and/or a well-founded fear of persecution on account of
their race, religion, nationality, political opinion, or membership in a particular social group. Each year, a
certain number of refugees are selected by the U.S. State Department to undergo several security
screenings and enter the United States through the Refugee Resettlement Program.
One year after arriving in the United States, a refugee can apply to become a lawful permanent resident
(LPR), and after five more years, can apply for U.S. citizenship.

Risk - Probability and severity of loss linked to hazards.

Safe Third Country Agreement - A treaty between the United States and another government to better
manage the flow of refugee claimants. Under the agreement, persons seeking refugee status must make
their claim in the first country they arrive in, unless they qualify for an exception.

Single Adult(s) - A noncitizen(s) 18 years of age or older traveling without his or her own minor
child(ren).

Steady State - Those operations which can be accomplished by an area’s organic resources without
adversely impacting overall safety, security, and mission execution.

Temporary Protected Status (TPS) – The secretary of the Department of Homeland Security may
designate a foreign country for TPS due to conditions in that temporarily prevent the country’s nationals
from returning safely, or in certain circumstances, where the country is unable to handle the return of its
nationals adequately. TPS is a temporary benefit that does not lead to lawful permanent resident status or
give any other immigration status. However, registration for TPS does not prevent a noncitizen from:

                                                Page 97 of 115
                                     FOR OFFICIAL USE ONLY
                                 Pre decisional internal working draft


                                                                                                      AZT42AR0001049
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 549 of 566 PageID #:
                                            2957
                    Unclassified // FOUO // Law Enforcement Sensitive

    •   Applying for nonimmigrant status.
    •   Filing for adjustment of status based on an immigrant petition.
    •   Applying for any other immigration benefit or protection for which they may be eligible.

Trafficking Victims Protection Reauthorization Act of 2008 (TVPRA) - This act of 2008 directs
additional activities to monitor, and combat forced labor and child labor in foreign countries contiguous to
the United States. It applies to undocumented migrants who are apprehended at the border of the United
States, at a United States port of entry, or within the United States. It specifies a different process for
unaccompanied noncitizen children who are apprehended, with differing treatment depending on whether
the UC is from a contiguous (i.e., Mexico or Canada) or non-contiguous country.

Unaccompanied Children (UC) - The term “unaccompanied child” means a child who, has no lawful
immigration status in the United States, has not attained 18 years of age; and with respect to whom there is
no parent or legal guardian in the United States, or no parent or legal guardian in the United States is
available to provide care and physical custody.

Undetermined Migrant - Migrant interdicted at sea outside the territory of the U.S. who has not received
a protection determination from USCIS.

Voluntary Departure - DHS or an Immigration Court may, in its discretion, allow a person to depart
from the U.S. at his or her own expense in lieu of removal. DHS and/or the Immigration Court will set a
finite period, usually about 120 days, to depart the U.S. If the person fails to depart, they will be subject to
fines and a 10-year period of ineligibility for other forms of relief. Immigrants with aggravated felonies
are ineligible for voluntary departure.

Whole of Western Hemisphere Approach - The United States, Central and South America and the
Caribbean islands and surrounding waters that encompass the major transit corridor for illicit narcotics and
are the primary source of irregular migration to the United States. The focus is upon the 35 independent
states of the Americas that constitute the main governments in the Hemisphere and their relationship with
the United States with regards to border security and immigration enforcement.




                                                Page 98 of 115
                                     FOR OFFICIAL USE ONLY
                                 Pre-decisional internal working draft


                                                                                                       AZT42AR0001050
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 550 of 566 PageID #:
                                            2958
                    Unclassified // FOUO // Law Enforcement Sensitive

Annex I: DHS SWB International Security Cooperation Architecture
1. Purpose. The purpose of this annex is to provide information, prescribe procedures, and assign
   responsibilities for the conduct of international engagement in coordination with the Senior
   Coordination/Response Official (SCO/SRO), general staff, and MAG-P, CBP SWAG/EOC and
   international groups associated with the DHS SWB Irregular Mass irregular migration Contingency Plan.
2. References. SEE ANNEX X.
3. Execution.
     a. Concept of the Operation. See Base Plan and for SCO/SRO, general staff, and MAG-P see
        Annex A.
     b. General. The DHS Secretary will designate an SCO/SRO to lead the Department’s efforts to prevent
        and respond to irregular migration internationally in coordination with the Department of State
        (DOS). The SCO/SRO supported by a general staff, MAG-P, CBP SWAG/EOC will facilitate a
        Whole-of-Western Hemisphere approach to this mission by establishing joint UCG at select
        international locations.
     c. Secretary’s Incident Priorities for International Engagement: This Plan addresses irregular
        migration and its root causes as a system requiring a coordinated USG effort that is hemispheric in
        outlook. The priority for international engagement is to remain vigilant for spikes in irregular
        migration, protect the borders and approaches to the homeland and to enable lawful trade, travel, and
        immigration. The political stability and strong economy of the United States act as a magnet for
        migrants from underdeveloped countries globally. Many migrants are fleeing countries plagued by
        low economic growth, poverty, violence, and crime. In the SWB-IMZ migrants principally come
        from the Northern Triangle, but migration is growing to encompass most of South America, Africa,
        and South Asia. This Plan is aligned with the U.S. Strategy for Addressing Root Causes of Migration
        in Central America 16 and it focuses on increasing the United States capacity to protect the borders and
        ensure lawful trade, travel and immigration is not hindered by the advent of irregular migration.
     d. Secretary’s Guidance for Preventing and Responding to Irregular Migration at the
        International-Level: Coordinate USG Department and Agency requirements across the SWB-IMZ
        in coordination with DOS and other partners for the Main Area of Operations, CENTAM Area of
        Influence and other Western Hemisphere Areas of Interest.
     e. DHS Critical Functions Preventing and Responding to Irregular Migration Internationally:
         1) Serve as the Lead Federal Agency (LFA) for domestic irregular migration.
         2) Support DOS, the LFA for international engagement regarding irregular migration.
         3) Under HSPD-5, provide the necessary coordination of irregular migration prevention and
            domestic response across the federal government.
              •    Follow the Plan phased approach to build capacity and address irregular migration.
              •    Coordinate with law enforcement components and agencies to identify and counter the root
                   causes of irregular migration.
              •    Coordinate strategic communications and keep the public informed about irregular migration.



16
  This strategy acknowledges that irregular migration is difficult for the countries losing citizens, it is difficult for the
countries receiving those foreign nationals, and it is difficult for the countries through which these migrants pass.
                                                       Page 99 of 115
                                           FOR OFFICIAL USE ONLY
                                       Pre decisional internal working draft


                                                                                                                   AZT42AR0001051
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 551 of 566 PageID #:
                                    2959




                                                                      AZT42AR0001052
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 552 of 566 PageID #:
                                            2960
                    Unclassified // FOUO // Law Enforcement Sensitive




    LES
4. Coordinating Instructions.




LES


                                           Page 101 of 115
                                    FOR OFFICIAL USE ONLY
                                Pre-decisional internal working draft


                                                                        AZT42AR0001053
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 553 of 566 PageID #:
                                            2961
                    Unclassified // FOUO // Law Enforcement Sensitive




LES


                                  Page 102 of 115
                           FOR OFFICIAL USE ONLY
                       Pre decisional internal working draft


                                                                      AZT42AR0001054
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 554 of 566 PageID #:
                                            2962
                    Unclassified // FOUO // Law Enforcement Sensitive




LES


                                  Page 103 of 115
                           FOR OFFICIAL USE ONLY
                       Pre-decisional internal working draft


                                                                      AZT42AR0001055
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 555 of 566 PageID #:
                                            2963
                    Unclassified // FOUO // Law Enforcement Sensitive




LES


                                  Page 104 of 115
                           FOR OFFICIAL USE ONLY
                       Pre decisional internal working draft


                                                                      AZT42AR0001056
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 556 of 566 PageID #:
                                            2964
                    Unclassified // FOUO // Law Enforcement Sensitive

Annex M: Medical, DHS SWB Mass Irregular Migration Contingency Plan
1. Purpose. The purpose of this annex is to provide information, prescribe procedures, and assign
   responsibilities for medical requirements associated with the DHS SWB Mass Irregular Migration
   Contingency Plan.
2. References. SEE ANNEX X.
    a. Executive Order 14010
    b. Strategy to Address the Root Causes of Migration in Central America
    c. CBP SWB Contingency Plan
    d. CBP Directive 2210-004 Enhanced Medical Support Efforts
3. Execution.




LES

                                            Page 105 of 115
                                   FOR OFFICIAL USE ONLY
                               Pre-decisional internal working draft


                                                                                              AZT42AR0001057
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 557 of 566 PageID #:
                                            2965
                    Unclassified // FOUO // Law Enforcement Sensitive




LES
   b. Coordination
      1) (CMO) serves as the principal advisor to the DHS Secretary on medical and public health issues.
      2) Reporting: DHS via SCO/SRO general staff will coordinate USG support for DHS (CBP, ICE,
         USCG, etc.) medical needs. CBP, ICE, USCG each maintain responsibilities within their scope,
         related to the medical care of those arriving at the SW border or transferred into DHS custody.
      3) DHS SWB general staff operations Section will maintain responsibility for medical related
         reporting. If sharing outside of DHS, there needs to be a sharing MOA in place with partners.
         Info sharing with state and local partners needs to be coordinated and specifically designated as
         to what can be shared.
      4) Components provide medical assessment and treatment for migrants within their scope with
         potential urgent or emergency health/medical issues, once transported to a USBP station,
         designated processing center or ICE detention facility.
      5) Assess the viability of expanding full time DHS medical care.
      6) Coordinate contract support for assessments and treatment.
      7) Develop pre-scripted federal-to-federal support agreements.
   c. Critical Resources
      1) Medical Personnel - Medical Personnel to conduct initial medical evaluation of detainees for
         CBP and once transported to an ICE facility for detention, as well as for ongoing evaluation and


                                            Page 106 of 115
                                  FOR OFFICIAL USE ONLY
                              Pre decisional internal working draft


                                                                                                AZT42AR0001058
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 558 of 566 PageID #:
                                    2966




                                                                      AZT42AR0001059
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 559 of 566 PageID #:
                                    2967




                                                                      AZT42AR0001060
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 560 of 566 PageID #:
                                            2968
                    Unclassified // FOUO // Law Enforcement Sensitive

5. Communication and Coordination Architecture
    a. The Chief Medical Officer (CMO) serves as the principal advisor to the DHS Secretary on medical
       and public health issues.
    b. Reporting: DHS via SCO/SRO general staff will coordinate USG support for DHS (CBP, ICE,
       USCG, etc.) medical needs. CBP, ICE, USCG each maintain responsibilities within their scope,
       related to the medical care of those arriving at the SW border or transferred into DHS custody.
    c. DHS SWB general staff Operations Section will maintain responsibility for medical related
       reporting. If sharing outside of DHS, there needs to be a sharing MOA in place with partners. Info
       sharing with state and local partners needs to be coordinated and specifically designated as to what
       can be shared.




                                             Page 109 of 115
                                    FOR OFFICIAL USE ONLY
                                Pre decisional internal working draft


                                                                                                  AZT42AR0001061
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 561 of 566 PageID #:
                                    2969




                                                                      AZT42AR0001062
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 562 of 566 PageID #:
                                            2970
                    Unclassified // FOUO // La Enforcement Sensiti e

   c. Regional UCG and Joint International UCG will send operational reporting along with resource and
       capability shortfalls and needs to the CBP EOC. The EOC will consolidate and send to the general
       staff via the NOC. The NOC may establish a CAT to facilitate focused information flow.
   d. Changes and updates to policy, resource allocation, and strategic action updates will be provided
       from the general staff to the EOC via the NOC for dissemination to UCG and Joint International
       UCG.




                                            Page 111 of 115
                                   FOR OFFICIAL USE ONLY
                               Pre decisional internal working draft


                                                                                                AZT42AR0001063
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 563 of 566 PageID #:
                                            2971
                    Unclassified // FOUO // Law Enforcement Sensitive

Annex X: DHS SWB Authorities and References
1. Purpose. The purpose of this annex is to provide a list of key authorities and references.
2. Authorities and References.
     a. Homeland Security Presidential Directive - 5 (HSPD -5), Management of Domestic Incidents,
        February 28, 2003, as amended
     b. The Homeland Security Act of 2002, as amended
     c. The Immigration and Nationality Act of 1952, as amended
     d. National Security Presidential Memorandum-2, Renewing the National Security Council System
     e. The National Response Framework (NRF), October 2019
     f.   Orantes Stipulation and Orders
     g. The Flores Settlement Agreement
     h. Programmatic Environmental Assessment for Actions to Address an Increased Influx of
        Unaccompanied Children and Family Units Across the Southwest Border of the United States
        (August 2014)
     i.   Unified Coordination Group Plan for Unaccompanied Children Surge (2015)
     j.   DHS Pandemic and Emerging Infectious Disease Workforce Protection Plan v.2 (2016)
     k. DHS Unaccompanied Children Collection and Analysis Action Plan (2015)
     l.   42 U.S.C. § 265
     m. The DHS Campaign Plan for Securing the U.S. Southern Border and Approaches, September 2015
     n. The Trafficking Victims Protection Reauthorization Act (TVPRA), October 28, 2000
3. Execution. N/A




                                               Page 112 of 115
                                     FOR OFFICIAL USE ONLY
                                 Pre-decisional internal working draft


                                                                                                AZT42AR0001064
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 564 of 566 PageID #:
                                    2972




                                                                      AZT42AR0001065
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 565 of 566 PageID #:
                                    2973




                                                                      AZT42AR0001066
Case 6:22-cv-00885-RRS-CBW Document 39-4 Filed 04/29/22 Page 566 of 566 PageID #:
                                            2974
                    Unclassified // FOUO // La Enforcement Sensiti e




LES


                                  Page 115 of 115
                           FOR OFFICIAL USE ONLY
                       Pre decisional internal working draft


                                                                      AZT42AR0001067
